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            EXHIBIT 1
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                                                                                                            Initial                                                 Difference
                                                                                                            delivery                          Pstg date             quantity
                                                                                      Quantity              date                              (Date                 ordered vs
Vendor   Item        Material                                            PO #         Requested       OUn   Requested Qty delivered     OUn   Received) MvT    Plnt received     Days Past due
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500395417             525 EA      12/3/2012           435   EA      4/18/2013   941 15           -90                 -136
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500398466             594 EA      2/18/2013           594   EA      4/22/2013   941 15             0                  -63
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500400796             525 EA      3/21/2013           356   EA       7/2/2013   941 15          -169                 -103
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500404802             525 EA        5/7/2013          468   EA       7/2/2013   941 15           -57                  -56
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500415401             524 EA      8/15/2013           527   EA     10/10/2014   941 15             3                 -421
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500426416             525 EA     11/27/2013           539   EA       4/4/2014   941 15            14                 -128
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500432377             525 EA      1/10/2014           555   EA       4/4/2014   941 15            30                  -84
  109049        10      47852   CEFOXITIN PINJ 10G 10X100ML USA            4500437706             581 EA        4/4/2014          581   EA       4/4/2014   941 15             0                    0
  109049        10      47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500440947           5,700 EA        4/1/2014        6,072   EA      3/24/2014   941 15           372                    8
  109049        20      47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500440947           5,700 EA        4/1/2014        6,048   EA      3/24/2014   941 15           348                    8
  109049        10      47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500440948           2,946 EA        5/1/2014        2,946   EA      9/11/2014   941 15             0                 -133
  109049        10      48912   CEFEPIME PINJ 1G 10X20ML USA               4500440949           6,650 EA      5/15/2014         6,744   EA       8/4/2014   941 15            94                  -81
  109049        10      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440956           3,468 EA        4/1/2014        3,468   EA      7/10/2014   941 15             0                 -100
  109049        20      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440956           3,325 EA        4/1/2014        3,523   EA      7/31/2014   941 15           198                 -121
  109049        20      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440956           3,325 EA        4/1/2014        3,523   EA       8/5/2014   941 15           198                 -126
  109049        30      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440956           3,325 EA        4/1/2014        3,366   EA      7/31/2014   941 15            41                 -121
  109049        40      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440956           3,325 EA        4/1/2014        3,492   EA      7/31/2014   941 15           167                 -121
  109049        50      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440956           3,325 EA        4/1/2014        3,576   EA      11/3/2014   941 15           251                 -216
  109049        10      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440957           2,928 EA      7/30/2014         2,928   EA     10/22/2014   941 15             0                  -84
  109049        20      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440957           3,528 EA      7/30/2014         3,528   EA     10/22/2014   941 15             0                  -84
  109049        30      48914   CEFEPIME PINJ 2G 10X20ML USA               4500440957           3,432 EA      7/30/2014         3,432   EA     10/22/2014   941 15             0                  -84
  109049        10      47805   CEFOXITIN PINJ 1G 25x20ML USA              4500440958           1,439 EA      3/15/2014         1,439   EA      3/27/2014   941 15             0                  -12
  109049        10      47805   CEFOXITIN PINJ 1G 25x20ML USA              4500440958           1,415 EA      3/15/2014         1,415   EA      3/27/2014   941 15             0                  -12
  109049        10      47805   CEFOXITIN PINJ 1G 25x20ML USA              4500440958           1,439 EA      3/15/2014         1,439   EA      9/24/2014   941 15             0                 -193
  109049        10      47805   CEFOXITIN PINJ 1G 25x20ML USA              4500440958           1,415 EA      3/15/2014         1,415   EA      9/24/2014   941 15             0                 -193
  109049        10      47854   CEFOXITIN PINJ 2G 25 X 20 ML USA           4500440959           1,200 EA      5/30/2014         1,148   EA      9/10/2014   941 15           -52                 -103
  109049        20      47854   CEFOXITIN PINJ 2G 25 X 20 ML USA           4500440959           1,200 EA      5/30/2014         1,187   EA      9/11/2014   941 15           -13                 -104
  109049        10      47154   CEFTRIAXONE PINJ 250MG 10ML USA            4500440960          14,250 EA      5/30/2014        12,650   EA      7/29/2014   941 15         -1600                  -60
  109049        20      47155   CEFTRIAXONE PINJ 250MG 10X10ML USA         4500440960           9,217 EA      5/30/2014         9,217   EA      7/29/2014   941 15             0                  -60
  109049        30      47155   CEFTRIAXONE PINJ 250MG 10X10ML USA         4500440960           4,748 EA      5/30/2014         4,748   EA      7/29/2014   941 15             0                  -60
  109049        10      47151   CEFTRIAXONE PINJ 1G 10X20ML USA            4500440961          11,136 EA        4/1/2014       11,136   EA       8/7/2014   941 15             0                 -128
  109049        20      47151   CEFTRIAXONE PINJ 1G 10X20ML USA            4500440961          10,891 EA        4/1/2014       10,891   EA       8/7/2014   941 15             0                 -128
  109049        10      47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500440962           4,942 EA      4/30/2014         4,942   EA       8/7/2014   941 15             0                  -99
  109049        20      47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500440962           4,870 EA      4/30/2014         4,870   EA       8/7/2014   941 15             0                  -99
  109049        30      47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500440962           5,644 EA      4/30/2014         5,644   EA       8/4/2014   941 15             0                  -96
  109049        10      47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500440963          10,700 EA      5/30/2014        11,100   EA      9/23/2014   941 15           400                 -116
  109049        20      47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500440963          10,700 EA      5/30/2014        10,700   EA     10/21/2014   941 15             0                 -144
  109049        10      48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA      4500440965           4,200 EA      4/24/2014         4,374   EA       3/6/2014   941 15           174                   49
  109049        10      48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA     4500440966           4,200 EA        4/1/2014            0   EA       3/5/2014   941 15         -4200                   27
  109049        20      48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA     4500440966           4,200 EA        4/1/2014            0   EA       3/5/2014   941 15         -4200                   27
  109049        30      48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA     4500440966           4,200 EA        4/1/2014            0   EA       3/5/2014   941 15         -4200                   27
  109049        10      48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA       4500440967           3,200 EA        5/1/2014        3,276   EA       5/7/2014   941 15            76                   -6
  109049        20      48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA       4500440967           3,200 EA        5/1/2014        3,264   EA      5/14/2014   941 15            64                  -13
  109049        10      48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA        4500440979           2,700 EA        4/1/2014        2,496   EA      2/14/2014   941 15          -204                   46
  109049        20      48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA        4500440979           2,700 EA        4/1/2014        2,494   EA      2/14/2014   941 15          -206                   46
  109049        30      48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA        4500440979           2,700 EA        4/1/2014        2,463   EA      2/14/2014   941 15          -237                   46
  109049        10      61113   CEFAZOLIN PINJ 1G 25X10ML NOV              4500440980           5,700 EA        5/1/2014        4,572   EA      3/31/2014   941 15         -1128                   31
  109049        20      61113   CEFAZOLIN PINJ 1G 25X10ML NOV              4500440980           5,700 EA        5/1/2014        6,024   EA       4/8/2014   941 15           324                   23
  109049        30      61113   CEFAZOLIN PINJ 1G 25X10ML NOV              4500440980           5,700 EA        5/1/2014        5,700   EA       4/8/2014   941 15             0                   23
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109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV        4500440980    6,213   EA    6/20/2014    6,213   EA    8/28/2014   941   15       0    -69
109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV        4500440980    6,213   EA    6/20/2014    6,213   EA    9/11/2014   941   15       0    -83
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV      4500440981    3,042   EA    6/10/2014    3,042   EA    9/26/2014   941   15       0   -108
109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV      4500440981    2,928   EA    6/10/2014    2,997   EA    12/3/2014   941   15      69   -176
109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV      4500440981    2,928   EA    6/10/2014    2,997   EA    12/6/2014   941   15      69   -179
109049   30   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV   4500444494   10,560   EA    4/15/2014   10,560   EA     8/5/2014   941   15       0   -112
109049   40   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV   4500444494   10,980   EA    4/15/2014   10,980   EA     8/5/2014   941   15       0   -112
109049   50   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV   4500444494    9,500   EA    4/15/2014    5,400   EA    8/13/2014   941   15   -4100   -120
109049   60   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV   4500444494   10,980   EA    4/15/2014   10,980   EA    8/19/2014   941   15       0   -126
109049   10   47852   CEFOXITIN PINJ 10G 10X100ML USA      4500458104      525   EA     9/4/2014      570   EA   10/10/2014   941   15      45    -36
109049   10   47852   CEFOXITIN PINJ 10G 10X100ML USA      4500476393      444   EA    2/27/2015      444   EA     6/9/2015   941   15       0   -102
109049   10   47852   CEFOXITIN PINJ 10G 10X100ML USA      4500502768      593   EA   10/30/2015      593   EA    1/11/2016   941   15       0    -73
109049   10   47852   CEFOXITIN PINJ 10G 10X100ML USA      4500511070      322   EA    1/30/2016      322   EA    1/27/2016   941   15       0      3
109049   20   47852   CEFOXITIN PINJ 10G 10X100ML USA      4500511070      333   EA    1/30/2016      333   EA    1/27/2016   941   15       0      3
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA         4500385971    3,683   EA    9/24/2012    3,683   EA    11/2/2012   941   15       0    -39
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA         4500385971    3,510   EA    9/24/2012    3,510   EA    11/2/2012   941   15       0    -39
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA         4500385971    3,325   EA    9/24/2012    3,474   EA   11/19/2012   941   15     149    -56
109049   50   48914   CEFEPIME PINJ 2G 10X20ML USA         4500385971    3,325   EA    9/24/2012    3,384   EA   11/19/2012   941   15      59    -56
109049   60   48914   CEFEPIME PINJ 2G 10X20ML USA         4500385971    3,325   EA    9/24/2012    3,540   EA   11/19/2012   941   15     215    -56
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA         4500389606    6,650   EA    9/30/2012    5,976   EA    11/2/2012   941   15    -674    -33
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA         4500389606    6,650   EA    9/30/2012    6,902   EA   11/19/2012   941   15     252    -50
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV        4500389611    2,400   EA   10/30/2012    2,564   EA    11/6/2012   941   15     164     -7
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA        4500389612    2,400   EA   10/12/2012    2,532   EA    11/2/2012   941   15     132    -21
109049   20   47805   CEFOXITIN PINJ 1G 25x20ML USA        4500389612    2,400   EA   10/12/2012    2,562   EA    11/2/2012   941   15     162    -21
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA     4500389614    1,200   EA   10/12/2012    1,260   EA    11/6/2012   941   15      60    -25
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA     4500389614    1,200   EA   10/12/2012    1,255   EA    11/6/2012   941   15      55    -25
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA   4500389615    4,750   EA   10/30/2012    4,050   EA   12/12/2012   941   15    -700    -43
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA   4500389616    4,050   EA    9/28/2012    4,050   EA    3/14/2013   941   15       0   -167
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA      4500389619    9,886   EA    9/28/2012    9,886   EA     1/4/2013   941   15       0    -98
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA      4500389619   10,648   EA    9/28/2012   10,648   EA     1/7/2013   941   15       0   -101
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA      4500389620    5,500   EA    9/28/2012    4,911   EA     1/3/2013   941   15    -589    -97
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA      4500389620    5,500   EA    9/28/2012    5,760   EA     1/3/2013   941   15     260    -97
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA   4500389629    4,050   EA   11/26/2012    4,050   EA    3/14/2013   941   15       0   -108
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA      4500389630   11,440   EA   11/28/2012   11,440   EA     1/9/2013   941   15       0    -42
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA      4500389630   11,467   EA   11/28/2012   11,467   EA    1/10/2013   941   15       0    -43
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA      4500389632    5,500   EA   11/28/2012    5,684   EA     1/3/2013   941   15     184    -36
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA      4500389632    5,500   EA     1/4/2013    5,550   EA     1/4/2013   941   15      50      0
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA   4500389633    9,210   EA   11/26/2012    9,210   EA    1/11/2013   941   15       0    -46
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA   4500392835    4,750   EA   10/25/2012    4,716   EA   12/12/2012   941   15     -34    -48
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA   4500392835    4,750   EA   10/25/2012    4,716   EA    3/21/2013   941   15     -34   -147
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA      4500392836    5,500   EA    11/5/2012    5,724   EA     1/4/2013   941   15     224    -60
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA      4500392836    5,500   EA    11/5/2012    5,760   EA     4/2/2013   941   15     260   -148
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA   4500392838   11,190   EA    11/5/2012   11,190   EA     1/8/2013   941   15       0    -64
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA   4500392838   11,270   EA    11/5/2012   11,270   EA     1/8/2013   941   15       0    -64
109049   30   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA   4500392838   11,360   EA    11/5/2012   11,360   EA     1/9/2013   941   15       0    -65
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA        4500395386    3,917   EA    11/5/2012    3,917   EA    12/5/2012   941   15       0    -30
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA        4500395386    3,876   EA    11/5/2012    3,876   EA    12/5/2012   941   15       0    -30
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA        4500395386    3,916   EA   12/12/2012    3,916   EA    12/5/2012   941   15       0      7
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA      4500395389    1,375   EA    12/3/2012    1,508   EA   12/12/2012   941   15     133     -9
109049   20   47135   CEFAZOLIN PINJ 10G 10X100ML USA      4500395389    1,375   EA    12/3/2012    1,424   EA   12/17/2012   941   15      49    -14
109049   30   47135   CEFAZOLIN PINJ 10G 10X100ML USA      4500395389    1,375   EA    12/3/2012    1,512   EA   12/17/2012   941   15     137    -14
109049   40   47135   CEFAZOLIN PINJ 10G 10X100ML USA      4500395389    1,375   EA    12/3/2012    1,508   EA   12/21/2012   941   15     133    -18
109049   50   47135   CEFAZOLIN PINJ 10G 10X100ML USA      4500395389    1,375   EA    12/3/2012    1,428   EA   12/21/2012   941   15      53    -18
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109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500395391    6,650   EA     1/4/2013    7,104   EA   2/25/2013   941   15     454    -52
109049   20   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500395391    6,650   EA     1/4/2013    6,882   EA   2/26/2013   941   15     232    -53
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500395393    6,650   EA     1/4/2013    6,876   EA   2/18/2013   941   15     226    -45
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500395393    6,650   EA     1/4/2013    7,020   EA   2/18/2013   941   15     370    -45
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500395393    6,650   EA     1/4/2013    7,020   EA   2/18/2013   941   15     370    -45
109049   10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500395394    3,325   EA   12/13/2012    3,540   EA   2/22/2013   941   15     215    -71
109049   20   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500395394    3,325   EA   12/13/2012    3,514   EA   2/22/2013   941   15     189    -71
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395396    3,325   EA   12/14/2012    3,599   EA   2/25/2013   941   15     274    -73
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395396    3,325   EA   12/14/2012    3,463   EA   2/25/2013   941   15     138    -73
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395396    3,325   EA   12/14/2012    3,528   EA   2/25/2013   941   15     203    -73
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395396    3,325   EA   12/14/2012    3,502   EA   2/25/2013   941   15     177    -73
109049   50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395396    3,325   EA   12/14/2012    3,452   EA   2/25/2013   941   15     127    -73
109049   60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395396    3,325   EA   12/14/2012    3,476   EA   2/26/2013   941   15     151    -74
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395397    2,327   EA    1/25/2013    2,476   EA   1/10/2013   941   15     149     15
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395397    3,325   EA    1/25/2013    3,535   EA   1/10/2013   941   15     210     15
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395397    3,325   EA    1/25/2013    2,638   EA   1/10/2013   941   15    -687     15
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500395397    3,325   EA    1/25/2013    3,495   EA   2/25/2013   941   15     170    -31
109049   10   48913   CEFEPIME PINJ 2G 20ML USA                4500395398    9,990   EA    1/15/2013    9,990   EA    1/9/2013   941   15       0      6
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500395402    2,400   EA     1/4/2013    2,492   EA   4/22/2013   941   15      92   -108
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500395408    2,400   EA   12/20/2012    2,444   EA   4/17/2013   941   15      44   -118
109049   20   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500395408    2,400   EA   12/20/2012    2,496   EA   4/17/2013   941   15      96   -118
109049   20   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500395409      900   EA   12/20/2012      846   EA   1/10/2013   941   15     -54    -21
109049   30   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500395409    1,282   EA    3/10/2013    1,282   EA   3/14/2013   941   15       0     -4
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500395412    1,200   EA   12/20/2012    1,264   EA    2/8/2013   941   15      64    -50
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500395412    1,200   EA   12/20/2012    1,256   EA    3/5/2013   941   15      56    -75
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500395420    5,670   EA     1/4/2013    5,670   EA    3/8/2013   941   15       0    -63
109049   20   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500395420    3,900   EA     1/4/2013      870   EA   3/14/2013   941   15   -3030    -69
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500395421    5,500   EA     1/4/2013    5,783   EA    4/3/2013   941   15     283    -89
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500395421    5,500   EA     1/4/2013    5,778   EA    4/4/2013   941   15     278    -90
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500395422   10,680   EA     1/7/2013   10,680   EA    6/8/2013   941   15       0   -152
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500395422   10,680   EA     1/7/2013   10,680   EA    6/8/2013   941   15       0   -152
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500395427    4,338   EA    11/2/2012    4,338   EA   1/14/2013   941   15       0    -73
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500395427    4,356   EA    11/2/2012    4,356   EA   1/16/2013   941   15       0    -75
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500395427    4,320   EA    1/20/2013    4,320   EA   1/16/2013   941   15       0      4
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500395427    4,200   EA    2/20/2013    4,309   EA   1/30/2013   941   15     109     21
109049   50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500395427    4,200   EA    1/20/2013    4,284   EA   1/30/2013   941   15      84    -10
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500395428    3,200   EA    11/7/2012    3,300   EA   12/5/2012   941   15     100    -28
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500395428    3,200   EA    11/7/2012    3,300   EA   12/5/2012   941   15     100    -28
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500398199    2,700   EA    1/25/2013    2,432   EA    7/8/2013   941   15    -268   -164
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500398199    2,700   EA    1/25/2013    2,391   EA    7/8/2013   941   15    -309   -164
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500398199    2,700   EA    1/25/2013    2,028   EA    7/8/2013   941   15    -672   -164
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500398405    4,200   EA    1/31/2013    4,356   EA   1/30/2013   941   15     156      1
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500398406    4,200   EA    1/20/2013    4,331   EA   1/23/2013   941   15     131     -3
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500398406    4,200   EA    1/20/2013    4,335   EA   1/23/2013   941   15     135     -3
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500398406    4,200   EA    1/20/2013    4,332   EA   1/30/2013   941   15     132    -10
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500398440    5,700   EA    1/27/2013    6,105   EA   1/24/2013   941   15     405      3
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500398440    5,700   EA    1/27/2013    6,105   EA   1/24/2013   941   15     405      3
109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500398442    7,196   EA    2/27/2013    7,196   EA    4/9/2013   941   15       0    -41
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500398444    6,650   EA     3/9/2013    6,528   EA   8/28/2013   941   15    -122   -172
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500398444    7,080   EA     3/9/2013    7,080   EA   8/28/2013   941   15       0   -172
109049   10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500398458    3,325   EA    2/18/2013    3,488   EA    9/5/2013   941   15     163   -199
109049   20   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500398458    3,325   EA    2/18/2013    3,473   EA   11/9/2013   941   15     148   -264
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500398460    3,325   EA    2/18/2013    3,099   EA    8/2/2013   941   15    -226   -165
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109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA            4500398460    3,325   EA   2/18/2013    3,492   EA     8/2/2013   941   15     167   -165
109049    10   48913   CEFEPIME PINJ 2G 20ML USA               4500398461   35,040   EA   1/15/2013   35,040   EA     1/9/2013   941   15       0      6
109049    10   47805   CEFOXITIN PINJ 1G 25x20ML USA           4500398462    2,400   EA   2/18/2013    2,496   EA    5/20/2013   941   15      96    -91
109049    10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV        4500398464      900   EA   1/31/2012      900   EA     3/8/2013   941   15       0   -402
109049    20   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV        4500398464    1,200   EA   1/31/2012    1,206   EA    4/22/2013   941   15       6   -447
109049    10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA        4500398465    1,246   EA   1/31/2013    1,246   EA    3/14/2013   941   15       0    -42
109049    20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA        4500398465    1,200   EA   1/31/2013    1,257   EA    4/18/2013   941   15      57    -77
109049    10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA         4500398467    5,500   EA   1/31/2013    5,916   EA    4/18/2013   941   15     416    -77
109049    20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA         4500398467    5,500   EA   1/31/2013    5,794   EA    4/18/2013   941   15     294    -77
109049    10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA      4500398469    9,500   EA   1/31/2013    9,810   EA    4/22/2013   941   15     310    -81
109049    20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA      4500398469    9,500   EA   1/31/2013    8,640   EA    4/22/2013   941   15    -860    -81
109049    10   47161   CEFTRIAXONE PINJ 500MG 10ML USA         4500398473   14,400   EA   2/27/2013   14,400   EA     3/8/2013   941   15       0     -9
109049    10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA      4500398474    2,340   EA   2/27/2013    1,350   EA     3/8/2013   941   15    -990     -9
109049    10   47154   CEFTRIAXONE PINJ 250MG 10ML USA         4500398476   15,600   EA   2/27/2013   15,600   EA    3/21/2013   941   15       0    -22
109049    10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA      4500398477    3,800   EA   2/27/2013    4,050   EA    3/21/2013   941   15     250    -22
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    5,700   EA    2/8/2013    5,362   EA     3/5/2013   941   15    -338    -25
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    5,700   EA    2/8/2013    5,362   EA     3/9/2013   941   15    -338    -29
109049    20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    5,700   EA    2/8/2013    3,906   EA     3/5/2013   941   15   -1794    -25
109049    30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    5,700   EA    2/8/2013    3,917   EA     3/5/2013   941   15   -1783    -25
109049    40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    5,700   EA    2/8/2013    3,902   EA     3/9/2013   941   15   -1798    -29
109049    50   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    5,700   EA    2/8/2013    3,903   EA    3/22/2013   941   15   -1797    -42
109049    60   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    3,980   EA    4/1/2013    3,980   EA     4/1/2013   941   15       0      0
109049    70   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500398591    3,984   EA    4/1/2013    3,984   EA     4/1/2013   941   15       0      0
109049    10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV         4500398592    3,010   EA    2/8/2013    3,010   EA     4/2/2013   941   15       0    -53
109049    10   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500400349    3,325   EA   3/20/2013    3,310   EA     9/5/2013   941   15     -15   -169
109049    20   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500400349    3,325   EA   3/20/2013    3,464   EA     9/5/2013   941   15     139   -169
109049    30   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500400349    3,325   EA   3/20/2013    3,564   EA     9/5/2013   941   15     239   -169
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500400350    5,700   EA   3/25/2013    3,906   EA    8/28/2013   941   15   -1794   -156
109049    20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500400350    5,700   EA   3/25/2013    3,885   EA     9/3/2013   941   15   -1815   -162
109049    30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500400350    3,924   EA    9/5/2013    3,924   EA     9/6/2013   941   15       0     -1
109049    10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV         4500400351    3,045   EA    4/2/2013    3,045   EA     4/2/2013   941   15       0      0
109049    30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV         4500400351    3,092   EA    4/2/2013    3,092   EA     4/3/2013   941   15       0     -1
109049    10   47138   CEFAZOLIN PINJ 1G 25x10ML USA           4500400793    5,700   EA   2/18/2013    5,472   EA    1/24/2013   941   15    -228     25
109049    10   47138   CEFAZOLIN PINJ 1G 25x10ML USA           4500400793    5,700   EA   2/18/2013    5,472   EA    3/14/2013   941   15    -228    -24
109049    10   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500400794    3,325   EA   3/25/2013    3,497   EA   11/25/2013   941   15     172   -245
109049    20   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500400794    3,325   EA   3/25/2013    3,609   EA   11/25/2013   941   15     284   -245
109049    30   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500400794    3,325   EA   3/25/2013    3,510   EA   11/27/2013   941   15     185   -247
109049    10   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,598   EA     8/8/2013   941   15     273   -132
109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,622   EA     8/8/2013   941   15     297   -132
109049    30   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,592   EA     8/8/2013   941   15     267   -132
109049    40   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,504   EA    8/26/2013   941   15     179   -150
109049    50   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,542   EA    8/26/2013   941   15     217   -150
109049    60   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,564   EA    11/7/2013   941   15     239   -223
109049    70   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,113   EA    11/7/2013   941   15    -212   -223
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,486   EA    11/7/2013   941   15     161   -223
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    3,533   EA    11/7/2013   941   15     208   -223
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA            4500400795    3,325   EA   3/29/2013    2,988   EA    6/14/2014   941   15    -337   -442
109049    10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA      4500400803    1,890   EA   3/21/2013    1,890   EA    3/21/2013   941   15       0      0
109049    20   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA      4500400803    2,400   EA   3/21/2013    2,400   EA     7/2/2013   941   15       0   -103
109049    10   47161   CEFTRIAXONE PINJ 500MG 10ML USA         4500400804    7,800   EA   3/21/2013    5,600   EA     4/9/2013   941   15   -2200    -19
109049    10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA         4500400807   11,000   EA   3/25/2013   11,490   EA    4/17/2013   941   15     490    -23
109049    20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA         4500400807   11,000   EA   4/30/2013   11,508   EA    4/19/2013   941   15     508     11
109049    10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA   4500400808    4,200   EA   2/28/2013    4,284   EA     6/4/2013   941   15      84    -96
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109049    10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500400809    4,200   EA    2/7/2013    4,320   EA    1/24/2013   941   15     120     14
109049    20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500400809    4,200   EA    2/7/2013    4,302   EA    1/24/2013   941   15     102     14
109049    10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500400813    3,200   EA   1/31/2013    3,300   EA    1/30/2013   941   15     100      1
109049    10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    3,960   EA    4/26/2013   941   15   -1740    -23
109049    20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    3,908   EA    4/26/2013   941   15   -1792    -23
109049    30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    3,896   EA    4/30/2013   941   15   -1804    -27
109049    40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    3,984   EA    4/30/2013   941   15   -1716    -27
109049    50   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    3,932   EA    4/30/2013   941   15   -1768    -27
109049    60   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    4,284   EA    4/30/2013   941   15   -1416    -27
109049    70   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    4,272   EA     5/6/2013   941   15   -1428    -33
109049    80   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA    4/3/2013    3,984   EA     5/6/2013   941   15   -1716    -33
109049    90   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA   5/15/2013    3,946   EA     5/6/2013   941   15   -1754      9
109049   100   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA   9/30/2013    3,840   EA    9/25/2013   941   15   -1860      5
109049   110   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500404778    5,700   EA   9/30/2013    6,138   EA    11/7/2013   941   15     438    -38
109049    10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500404781    3,088   EA   3/20/2013    3,088   EA    3/21/2013   941   15       0     -1
109049    30   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500404781    2,988   EA   3/20/2013    2,988   EA    3/22/2013   941   15       0     -2
109049    50   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500404781    1,375   EA   3/20/2013    1,398   EA    11/7/2013   941   15      23   -232
109049    60   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500404781    1,375   EA   3/20/2013    1,218   EA    11/7/2013   941   15    -157   -232
109049    70   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500404781    1,375   EA   3/20/2013    1,356   EA    11/7/2013   941   15     -19   -232
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA             4500404791    3,325   EA   4/15/2013    3,461   EA    11/7/2013   941   15     136   -206
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA             4500404791    3,325   EA   4/15/2013    3,588   EA   11/23/2013   941   15     263   -222
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA             4500404791    3,325   EA   4/15/2013    3,528   EA   11/23/2013   941   15     203   -222
109049   110   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,576   EA   11/30/2013   941   15     251   -229
109049   120   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,540   EA   11/30/2013   941   15     215   -229
109049   130   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,540   EA   11/30/2013   941   15     215   -229
109049   140   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,421   EA   11/30/2013   941   15      96   -229
109049   140   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,421   EA    12/5/2013   941   15      96   -234
109049   150   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,492   EA    1/11/2014   941   15     167   -271
109049   150   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,492   EA    2/15/2014   941   15     167   -306
109049   160   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,492   EA    1/11/2014   941   15     167   -271
109049   170   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500404791    3,325   EA   4/15/2013    3,439   EA    1/13/2014   941   15     114   -273
109049    10   48913   CEFEPIME PINJ 2G 20ML USA                4500404793   33,250   EA   4/24/2013   34,650   EA    8/27/2013   941   15    1400   -125
109049    10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500404796    1,200   EA   4/15/2013    1,232   EA    7/15/2013   941   15      32    -91
109049    20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500404796    1,200   EA   4/15/2013    1,244   EA    7/15/2013   941   15      44    -91
109049    30   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500404796    1,200   EA   4/15/2013    1,246   EA    7/15/2013   941   15      46    -91
109049    10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500404805   11,603   EA   4/15/2013   11,603   EA    5/29/2013   941   15       0    -44
109049    20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500404805   11,476   EA   4/15/2013   11,476   EA     6/3/2013   941   15       0    -49
109049    20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500404805   11,476   EA   4/15/2013   11,476   EA     6/3/2013   941   15       0    -49
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    5,216   EA     9/5/2013   941   15    -484   -160
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    5,216   EA    6/20/2014   941   15    -484   -448
109049    20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,946   EA   3/29/2013    9,946   EA     9/5/2013   941   15       0   -160
109049    20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,946   EA   3/29/2013    9,946   EA    7/22/2014   941   15       0   -480
109049    30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,612   EA   3/29/2013    9,612   EA     9/5/2013   941   15       0   -160
109049    30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,612   EA   3/29/2013    9,612   EA    7/22/2014   941   15       0   -480
109049    40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    3,945   EA     9/6/2013   941   15   -1755   -161
109049    50   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    3,929   EA     9/9/2013   941   15   -1771   -164
109049    60   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,932   EA   3/29/2013    9,932   EA     9/9/2013   941   15       0   -164
109049    60   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,932   EA   3/29/2013    9,932   EA    7/22/2014   941   15       0   -480
109049    70   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    3,948   EA    9/26/2013   941   15   -1752   -181
109049    80   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,600   EA   3/29/2013    9,563   EA    9/26/2013   941   15     -37   -181
109049    80   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    9,600   EA   3/29/2013    9,563   EA    7/24/2014   941   15     -37   -482
109049    90   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    5,664   EA    6/20/2014   941   15     -36   -448
109049   100   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500404815    5,700   EA   3/29/2013    5,676   EA    7/12/2014   941   15     -24   -470
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109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500404818    2,700   EA   4/15/2013    2,481   EA     7/8/2013   941   15    -219    -84
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500404818    2,700   EA   4/15/2013    2,443   EA     7/8/2013   941   15    -257    -84
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500404818    2,700   EA   4/15/2013    2,410   EA     4/8/2014   941   15    -290   -358
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500404822    3,200   EA    3/2/2013    3,222   EA     6/4/2013   941   15      22    -94
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500404822    3,200   EA    3/2/2013    3,264   EA    6/20/2013   941   15      64   -110
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500405040    9,600   EA   3/29/2013    9,600   EA    6/11/2013   941   15       0    -74
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500405041    8,940   EA   3/29/2013    8,940   EA    4/22/2013   941   15       0    -24
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500405116    4,200   EA    3/2/2013    4,374   EA     7/8/2013   941   15     174   -128
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500405116    4,200   EA   3/25/2013    4,338   EA     7/8/2013   941   15     138   -105
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500405116    4,200   EA   3/25/2013    4,320   EA     5/6/2014   941   15     120   -407
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500405120    5,500   EA   3/20/2013    5,722   EA    5/30/2013   941   15     222    -71
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500405120    5,500   EA   3/20/2013    5,868   EA    5/30/2013   941   15     368    -71
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500406921    1,375   EA   4/10/2013    1,392   EA   11/14/2013   941   15      17   -218
109049   20   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500406921    1,375   EA   4/10/2013    1,350   EA   11/14/2013   941   15     -25   -218
109049   30   48912   CEFEPIME PINJ 1G 10X20ML USA             4500406936    6,650   EA   12/5/2013    6,867   EA   11/19/2013   941   15     217     16
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500406937    1,200   EA   5/10/2013    1,242   EA    7/15/2013   941   15      42    -66
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500406947   20,400   EA   4/26/2013   20,400   EA    6/11/2013   941   15       0    -46
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500406949    8,940   EA    4/9/2013    8,940   EA    6/10/2013   941   15       0    -62
109049   30   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500406949    9,195   EA    4/9/2013    9,195   EA    6/10/2013   941   15       0    -62
109049   40   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500406949    2,850   EA    4/9/2013    2,955   EA     6/8/2013   941   15     105    -60
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500406957    5,500   EA   4/23/2013    5,772   EA    5/31/2013   941   15     272    -38
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500406957    5,500   EA   4/23/2013    5,676   EA    5/31/2013   941   15     176    -38
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500406957    5,500   EA   4/23/2013    5,700   EA    6/27/2013   941   15     200    -65
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500406959    9,500   EA   4/23/2013    9,560   EA   11/11/2013   941   15      60   -202
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500406959    9,500   EA   4/23/2013    8,810   EA   11/13/2013   941   15    -690   -204
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500410208    5,700   EA    5/8/2013    6,143   EA    11/7/2013   941   15     443   -183
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500410208    5,700   EA    5/8/2013    6,096   EA    11/7/2013   941   15     396   -183
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500410210    2,880   EA    5/8/2013    2,880   EA    3/25/2014   941   15       0   -321
109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500410212    4,655   EA    6/4/2013    4,778   EA    8/27/2013   941   15     123    -84
109049   20   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500410212    6,650   EA    6/4/2013    7,134   EA   11/23/2013   941   15     484   -172
109049   10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500410217    3,325   EA    6/4/2013    3,536   EA    2/15/2014   941   15     211   -256
109049   20   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500410217    3,325   EA    6/4/2013    3,550   EA    6/14/2014   941   15     225   -375
109049   30   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500410217    3,475   EA    6/4/2013    3,475   EA    9/12/2014   941   15       0   -465
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500410218    3,325   EA    6/4/2013    3,585   EA   11/23/2013   941   15     260   -172
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500410218    3,325   EA    6/4/2013    3,453   EA   11/23/2013   941   15     128   -172
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500410218    3,669   EA    6/4/2013    3,669   EA   11/27/2013   941   15       0   -176
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500410218    3,325   EA    6/4/2013    3,312   EA   11/30/2013   941   15     -13   -179
109049   50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500410218    3,325   EA    6/4/2013    3,570   EA    12/2/2013   941   15     245   -181
109049   60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500410218    3,325   EA    6/4/2013    3,468   EA    12/2/2013   941   15     143   -181
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500410219    2,400   EA    6/4/2013    2,400   EA   11/16/2013   941   15       0   -165
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500410220    2,400   EA    6/4/2013    2,484   EA    1/10/2014   941   15      84   -220
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500410221   19,000   EA    6/4/2013   19,200   EA    11/9/2013   941   15     200   -158
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500410224    9,000   EA    6/4/2013    9,000   EA    6/25/2013   941   15       0    -21
109049   30   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500410224    9,169   EA    6/4/2013    9,169   EA    6/25/2013   941   15       0    -21
109049   50   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500410224    4,050   EA    6/4/2013    4,050   EA     7/2/2013   941   15       0    -28
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA          4500410225   10,000   EA   5/14/2013   10,000   EA   11/13/2013   941   15       0   -183
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500410227    6,750   EA   5/14/2013    6,750   EA   11/18/2013   941   15       0   -188
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500410231   11,000   EA    6/4/2013   11,568   EA    12/5/2013   941   15     568   -184
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500410231   11,000   EA    6/4/2013    8,820   EA    12/9/2013   941   15   -2180   -188
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500410231   11,000   EA    6/4/2013    8,820   EA    12/9/2013   941   15   -2180   -188
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500410233    5,500   EA   5/14/2013    4,740   EA    7/18/2013   941   15    -760    -65
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500410233    5,500   EA   5/14/2013    5,100   EA    1/16/2014   941   15    -400   -247
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500410234    2,874   EA   5/14/2013    2,874   EA    3/24/2014   941   15       0   -314
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109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV         4500410234    2,790   EA    5/14/2013    2,790   EA    4/15/2014   941   15       0   -336
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA     4500410236    2,700   EA    5/14/2013    2,520   EA    8/26/2013   941   15    -180   -104
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA     4500410236    2,700   EA    5/14/2013    2,520   EA    8/26/2013   941   15    -180   -104
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA     4500410236    2,700   EA    5/14/2013    2,538   EA    8/26/2013   941   15    -162   -104
109049   10   61870   CEFTRIAXONE PINJ 250MG 10X10ML NOV      4500411859    3,290   EA    5/28/2013    2,940   EA   11/16/2013   941   15    -350   -172
109049   20   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA      4500411859    1,425   EA    5/28/2013    1,350   EA   11/16/2013   941   15     -75   -172
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV         4500411860   11,189   EA    5/28/2013   11,184   EA   10/29/2013   941   15      -5   -154
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV         4500411860   11,189   EA    5/28/2013   11,184   EA   10/30/2013   941   15      -5   -155
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV      4500411861   32,400   EA    5/28/2013   32,400   EA    11/6/2013   941   15       0   -162
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV      4500411861   32,400   EA    5/28/2013   32,400   EA    11/6/2013   941   15       0   -162
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV      4500411861   32,400   EA    5/28/2013   32,400   EA    11/7/2013   941   15       0   -163
109049   10   48916   CEFEPIME PINJ 1G 20ML USA               4500412375   19,950   EA    5/31/2013   21,600   EA    8/27/2013   941   15    1650    -88
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA           4500413720    5,700   EA    6/20/2013    3,816   EA   10/16/2013   941   15   -1884   -118
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA           4500413720    5,700   EA    6/20/2013    6,024   EA   11/13/2013   941   15     324   -146
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA         4500413721    1,548   EA    6/20/2013    1,548   EA    4/28/2014   941   15       0   -312
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500413723    5,700   EA     7/5/2013    6,060   EA    3/25/2014   941   15     360   -263
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500413723    5,700   EA     7/5/2013    5,940   EA    3/25/2014   941   15     240   -263
109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500413723    5,700   EA     7/5/2013    6,012   EA     4/1/2014   941   15     312   -270
109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV           4500413723    5,700   EA     7/5/2013    5,556   EA     4/1/2014   941   15    -144   -270
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV         4500413724    2,958   EA    6/17/2013    2,958   EA    6/23/2014   941   15       0   -371
109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV         4500413724    2,706   EA    6/17/2013    2,706   EA    7/14/2014   941   15       0   -392
109049   40   51025   CEFEPIME PINJ 1G 10X20ML NOV            4500413726    6,650   EA   11/25/2013    6,720   EA    1/13/2014   941   15      70    -49
109049   50   51025   CEFEPIME PINJ 1G 10X20ML NOV            4500413726    6,650   EA   11/25/2013    7,128   EA    1/21/2014   941   15     478    -57
109049   60   51025   CEFEPIME PINJ 1G 10X20ML NOV            4500413726    7,161   EA    2/20/2014    7,161   EA     6/4/2014   941   15       0   -104
109049   10   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500413727    3,325   EA    6/17/2013    3,510   EA    1/11/2014   941   15     185   -208
109049   20   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500413727    3,325   EA    6/17/2013    3,634   EA    6/23/2014   941   15     309   -371
109049   30   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500413727    3,325   EA    6/17/2013    3,497   EA    6/23/2014   941   15     172   -371
109049   40   51024   CEFEPIME PINJ 2G 10X20ML NOV            4500413727    3,325   EA    6/17/2013    2,304   EA    7/10/2014   941   15   -1021   -388
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,408   EA     1/4/2014   941   15      83   -201
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,381   EA     1/4/2014   941   15      56   -201
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,372   EA     1/4/2014   941   15      47   -201
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,428   EA     1/8/2014   941   15     103   -205
109049   50   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,501   EA    1/17/2014   941   15     176   -214
109049   60   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,534   EA    1/17/2014   941   15     209   -214
109049   70   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,576   EA    1/17/2014   941   15     251   -214
109049   80   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413728    3,325   EA    6/17/2013    3,504   EA    1/17/2014   941   15     179   -214
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413729    3,325   EA     8/1/2013    3,467   EA     1/8/2014   941   15     142   -160
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413729    3,325   EA     8/1/2013    3,516   EA     1/8/2014   941   15     191   -160
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413729    3,325   EA     8/1/2013    3,439   EA     1/8/2014   941   15     114   -160
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413729    3,325   EA     8/1/2013    3,612   EA    2/15/2014   941   15     287   -198
109049   50   48914   CEFEPIME PINJ 2G 10X20ML USA            4500413729    3,325   EA     8/1/2013    3,492   EA    6/14/2014   941   15     167   -317
109049   10   48913   CEFEPIME PINJ 2G 20ML USA               4500413730   33,250   EA    6/20/2013   34,290   EA     1/8/2014   941   15    1040   -202
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV        4500413731    1,200   EA    6/20/2013    1,260   EA    7/15/2013   941   15      60    -25
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA        4500413732    1,200   EA    6/20/2013    1,209   EA   12/21/2013   941   15       9   -184
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA        4500413732    1,200   EA    6/20/2013    1,248   EA   12/21/2013   941   15      48   -184
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA         4500413825   14,250   EA     7/3/2013   14,400   EA    11/9/2013   941   15     150   -129
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA      4500413826    3,325   EA     7/5/2013    2,700   EA     7/2/2013   941   15    -625      3
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA         4500413827   15,600   EA    6/20/2013   14,400   EA   11/16/2013   941   15   -1200   -149
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA      4500413833   10,590   EA    6/20/2013   10,590   EA   11/11/2013   941   15       0   -144
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA         4500413834   11,000   EA    6/20/2013    9,319   EA    12/4/2013   941   15   -1681   -167
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA         4500413834   11,000   EA    6/20/2013   10,332   EA    12/9/2013   941   15    -668   -172
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA         4500413834   11,000   EA    6/20/2013    9,504   EA    12/9/2013   941   15   -1496   -172
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA   4500413837    4,200   EA    6/20/2013    4,302   EA    6/20/2013   941   15     102      0
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109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500413839    4,200   EA   6/20/2013    4,356   EA     7/8/2013   941   15     156    -18
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500413839    4,200   EA   6/20/2013    4,252   EA    7/12/2013   941   15      52    -22
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500413839    4,200   EA   6/20/2013    4,320   EA    5/12/2014   941   15     120   -326
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500413848    3,200   EA   6/20/2013    3,300   EA    6/20/2013   941   15     100      0
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500413848    3,200   EA   6/20/2013    3,312   EA    6/20/2013   941   15     112      0
109049   30   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500413848    3,200   EA   6/20/2013    3,288   EA     9/5/2013   941   15      88    -77
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500413849    2,700   EA    6/1/2013    2,503   EA    8/24/2013   941   15    -197    -84
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500413849    2,700   EA    6/1/2013    2,525   EA    8/24/2013   941   15    -175    -84
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500413849    2,700   EA    6/1/2013    2,304   EA    8/24/2013   941   15    -396    -84
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500415399    5,700   EA   8/15/2013    5,745   EA    3/24/2014   941   15      45   -221
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500415400    1,200   EA   8/15/2013    1,236   EA   12/21/2013   941   15      36   -128
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA          4500415402   11,700   EA   8/15/2013    9,600   EA   11/16/2013   941   15   -2100    -93
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500415403    3,900   EA   8/13/2013    3,696   EA   11/16/2013   941   15    -204    -95
109049   20   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500415403    2,730   EA   8/13/2013    2,670   EA   11/16/2013   941   15     -60    -95
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500415404   11,000   EA   8/15/2013   11,124   EA   12/13/2013   941   15     124   -120
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500415405    4,200   EA   8/15/2013    4,374   EA   12/27/2013   941   15     174   -134
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500415406    4,200   EA   7/31/2013    4,320   EA    10/4/2013   941   15     120    -65
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500415406    4,200   EA   7/31/2013    4,294   EA   11/13/2013   941   15      94   -105
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500415407    3,200   EA   7/31/2013    3,185   EA     9/5/2013   941   15     -15    -36
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500415407    3,200   EA   7/31/2013    3,192   EA    12/5/2013   941   15      -8   -127
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500415408    2,700   EA   7/31/2013    2,534   EA   11/16/2013   941   15    -166   -108
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500415408    2,700   EA   7/31/2013    2,299   EA   11/26/2013   941   15    -401   -118
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500420549    5,500   EA   9/30/2013    5,680   EA    11/7/2013   941   15     180    -38
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500420549    5,500   EA   9/30/2013    5,767   EA   11/30/2013   941   15     267    -61
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500420549    5,500   EA   9/30/2013    5,745   EA    12/5/2013   941   15     245    -66
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500420550   10,890   EA   9/30/2013   10,890   EA    2/10/2014   941   15       0   -133
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500420550   11,020   EA   9/30/2013   11,020   EA    2/10/2014   941   15       0   -133
109049   30   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500420550    9,500   EA   9/30/2013    9,060   EA    3/15/2014   941   15    -440   -166
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500420556    2,940   EA   9/30/2013    2,940   EA    6/23/2014   941   15       0   -266
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA          4500420557   43,200   EA   9/30/2013   43,200   EA   11/13/2013   941   15       0    -44
109049   30   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500420560    6,650   EA   2/20/2014    6,996   EA    9/10/2014   941   15     346   -202
109049   40   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500420560    6,650   EA   2/20/2014    6,896   EA    9/10/2014   941   15     246   -202
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500420564    4,200   EA    8/2/2013    4,374   EA    1/22/2014   941   15     174   -173
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500420568    4,200   EA   8/26/2013    4,273   EA   11/13/2013   941   15      73    -79
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500420568    4,200   EA   8/26/2013    4,356   EA    2/19/2014   941   15     156   -177
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500420569    3,200   EA   9/23/2013    3,180   EA    12/5/2013   941   15     -20    -73
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500420569    3,200   EA   9/23/2013    3,228   EA    12/5/2013   941   15      28    -73
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500420570    2,700   EA   8/30/2013    2,448   EA   11/27/2013   941   15    -252    -89
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500420570    2,700   EA   8/31/2013    2,520   EA    12/5/2013   941   15    -180    -96
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500420570    2,700   EA   8/31/2013    2,509   EA     5/6/2014   941   15    -191   -248
109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500420576    5,134   EA   9/30/2013    5,134   EA     6/7/2014   941   15       0   -250
109049   10   48916   CEFEPIME PINJ 1G 20ML USA                4500420577   20,070   EA   9/30/2013   20,070   EA     6/7/2014   941   15       0   -250
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    5,700   EA   9/16/2013    5,604   EA    3/24/2014   941   15     -96   -189
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    5,832   EA   9/16/2013    5,832   EA     5/5/2014   941   15       0   -231
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    7,754   EA   9/16/2013    7,754   EA     5/5/2014   941   15       0   -231
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    7,754   EA   9/16/2013    7,754   EA    7/24/2014   941   15       0   -311
109049   40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    5,700   EA   9/16/2013    5,748   EA     5/7/2014   941   15      48   -233
109049   50   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    5,700   EA   9/16/2013    6,000   EA    6/14/2014   941   15     300   -271
109049   60   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500423355    5,700   EA   9/16/2013    6,102   EA    6/23/2014   941   15     402   -280
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500423356    2,292   EA   9/16/2013    2,292   EA    4/28/2014   941   15       0   -224
109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500423359    6,650   EA   9/16/2013    7,149   EA    7/24/2014   941   15     499   -311
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500423360    6,650   EA   9/16/2013    6,870   EA   11/19/2013   941   15     220    -64
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500423360    6,650   EA   9/16/2013    6,055   EA   11/23/2013   941   15    -595    -68
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109049    30   48912   CEFEPIME PINJ 1G 10X20ML USA             4500423360    7,065   EA   9/16/2013    7,065   EA     6/4/2014   941   15       0   -261
109049    40   48912   CEFEPIME PINJ 1G 10X20ML USA             4500423360    7,130   EA   9/16/2013    7,130   EA     6/5/2014   941   15       0   -262
109049    50   48912   CEFEPIME PINJ 1G 10X20ML USA             4500423360    6,870   EA   9/16/2013    6,424   EA     6/5/2014   941   15    -446   -262
109049    50   48912   CEFEPIME PINJ 1G 10X20ML USA             4500423360    6,870   EA   9/16/2013    6,424   EA     6/5/2014   941   15    -446   -262
109049    60   48916   CEFEPIME PINJ 1G 20ML USA                4500423360    6,650   EA   9/16/2013    6,870   EA     6/5/2014   941   15     220   -262
109049    60   48916   CEFEPIME PINJ 1G 20ML USA                4500423360    6,650   EA   9/16/2013    6,870   EA     6/5/2014   941   15     220   -262
109049    10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,444   EA    7/10/2014   941   15     119   -297
109049    20   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,586   EA    7/22/2014   941   15     261   -309
109049    30   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,358   EA    7/22/2014   941   15      33   -309
109049    40   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,622   EA    7/23/2014   941   15     297   -310
109049    50   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,550   EA    7/31/2014   941   15     225   -318
109049    60   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,538   EA    7/31/2014   941   15     213   -318
109049    70   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    3,325   EA   9/16/2013    3,622   EA    7/31/2014   941   15     297   -318
109049    80   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500423361    1,663   EA   9/16/2013    1,451   EA    7/24/2014   941   15    -212   -311
109049    90   48913   CEFEPIME PINJ 2G 20ML USA                4500423361   15,270   EA   9/16/2013   15,270   EA     6/7/2014   941   15       0   -264
109049    10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,516   EA     1/8/2014   941   15     191   -114
109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    2,935   EA     1/8/2014   941   15    -390   -114
109049    30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,308   EA    1/14/2014   941   15     -17   -120
109049    40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,024   EA    2/26/2014   941   15    -301   -163
109049    50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,564   EA    2/26/2014   941   15     239   -163
109049    60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,552   EA    2/26/2014   941   15     227   -163
109049    70   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,564   EA     3/4/2014   941   15     239   -169
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,588   EA     3/8/2014   941   15     263   -173
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,444   EA     3/8/2014   941   15     119   -173
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,576   EA    3/10/2014   941   15     251   -175
109049   110   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,619   EA    3/10/2014   941   15     294   -175
109049   120   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,576   EA    3/10/2014   941   15     251   -175
109049   130   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,276   EA    3/11/2014   941   15     -49   -176
109049   140   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,487   EA    6/12/2014   941   15     162   -269
109049   150   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   9/16/2013    3,588   EA    6/12/2014   941   15     263   -269
109049   160   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,666   EA   9/16/2013    3,666   EA    6/12/2014   941   15       0   -269
109049   170   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   7/30/2014    3,609   EA    6/14/2014   941   15     284     46
109049   180   48914   CEFEPIME PINJ 2G 10X20ML USA             4500423364    3,325   EA   7/30/2014    3,631   EA    6/14/2014   941   15     306     46
109049    10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500423369    3,900   EA   9/14/2013    4,050   EA   11/19/2013   941   15     150    -66
109049    10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500423370    5,500   EA   9/16/2013    5,793   EA    12/9/2013   941   15     293    -84
109049    10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500423373   10,680   EA   9/16/2013   10,680   EA    2/10/2014   941   15       0   -147
109049    20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500423373    9,500   EA   9/16/2013    9,390   EA    3/15/2014   941   15    -110   -180
109049    40   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500423373   11,340   EA   9/16/2013   11,340   EA    3/27/2014   941   15       0   -192
109049    10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500423374    4,200   EA   9/16/2013    4,329   EA   12/27/2013   941   15     129   -102
109049    20   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500423374    4,200   EA   9/16/2013    4,356   EA   12/27/2013   941   15     156   -102
109049    10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500423377    4,200   EA   9/16/2013    4,331   EA   11/16/2013   941   15     131    -61
109049    20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500423377    4,200   EA   9/16/2013    4,258   EA   11/16/2013   941   15      58    -61
109049    30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500423377    4,200   EA   9/16/2013    4,266   EA   11/30/2013   941   15      66    -75
109049    40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500423377    4,200   EA   9/16/2013    4,309   EA   11/30/2013   941   15     109    -75
109049    50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500423377    4,200   EA   9/16/2013    4,343   EA    12/4/2013   941   15     143    -79
109049    10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500423379    3,200   EA   9/16/2013    2,880   EA    12/5/2013   941   15    -320    -80
109049    20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500423379    3,200   EA   9/16/2013    2,924   EA   12/13/2013   941   15    -276    -88
109049    30   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500423379    3,200   EA   9/16/2013    2,711   EA    2/24/2014   941   15    -489   -161
109049    10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500423380    2,700   EA   9/16/2013    2,511   EA    12/5/2013   941   15    -189    -80
109049    20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500423380    2,700   EA   9/16/2013    2,509   EA     1/8/2014   941   15    -191   -114
109049    30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500423380    2,700   EA   9/16/2013    2,520   EA     1/8/2014   941   15    -180   -114
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500423383    5,700   EA   9/16/2013    6,018   EA    3/19/2014   941   15     318   -184
109049    20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500423383    5,700   EA   9/16/2013    3,510   EA    3/19/2014   941   15   -2190   -184
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109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500423383    5,700   EA    9/16/2013    6,000   EA    3/20/2014   941   15     300   -185
109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500423383    5,700   EA    9/16/2013    6,000   EA    3/20/2014   941   15     300   -185
109049   50   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500423383    5,700   EA    9/16/2013    5,580   EA    3/24/2014   941   15    -120   -189
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500423384    2,892   EA    9/16/2013    2,892   EA    4/15/2014   941   15       0   -211
109049   20   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500423384    1,926   EA    9/16/2013    1,926   EA    4/15/2014   941   15       0   -211
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500426412    2,400   EA   11/27/2013    1,392   EA    1/29/2014   941   15   -1008    -63
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500426415    1,200   EA   11/30/2013    1,236   EA    1/29/2014   941   15      36    -60
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500426417   26,250   EA   11/27/2013   26,250   EA   12/30/2013   941   15       0    -33
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500426419    2,375   EA   11/27/2013    1,517   EA   12/28/2013   941   15    -858    -31
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500426421    3,900   EA   11/27/2013    4,050   EA   12/28/2013   941   15     150    -31
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500426439    4,200   EA   11/20/2013    4,343   EA    12/5/2013   941   15     143    -15
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500426439    4,200   EA   11/20/2013    4,320   EA     1/8/2014   941   15     120    -49
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500426440    2,700   EA   10/15/2013    2,496   EA   11/27/2013   941   15    -204    -43
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500426440    2,700   EA   10/15/2013    2,492   EA   11/27/2013   941   15    -208    -43
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500426440    2,700   EA   10/15/2013    2,544   EA    2/19/2014   941   15    -156   -127
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500429364    4,200   EA     7/9/2013    4,374   EA    1/22/2014   941   15     174   -197
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500429365    4,200   EA   12/21/2013    4,230   EA   12/23/2013   941   15      30     -2
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500429365    4,200   EA   12/21/2013    4,320   EA   12/23/2013   941   15     120     -2
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500429365    4,200   EA    1/20/2014    4,350   EA    1/24/2014   941   15     150     -4
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500429365    4,200   EA    1/20/2014    4,356   EA    1/24/2014   941   15     156     -4
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500429366    3,200   EA   11/15/2013    3,071   EA    2/24/2014   941   15    -129   -101
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500429366    3,200   EA   11/15/2013    3,240   EA     5/9/2014   941   15      40   -175
109049   30   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500429366    3,200   EA   11/15/2013    3,228   EA     5/9/2014   941   15      28   -175
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500429368    2,700   EA    1/30/2014    2,487   EA    2/19/2014   941   15    -213    -20
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500429368    2,700   EA    1/30/2014    2,520   EA    2/19/2014   941   15    -180    -20
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500429368    2,700   EA    1/30/2014    2,472   EA    2/19/2014   941   15    -228    -20
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500430799    2,871   EA   12/10/2013    2,871   EA    7/24/2014   941   15       0   -226
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500430839    2,400   EA   12/20/2013    2,508   EA    1/10/2014   941   15     108    -21
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500430840    2,037   EA   12/20/2013    2,037   EA    1/29/2014   941   15       0    -40
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500430840    2,037   EA   12/20/2013    2,037   EA    9/12/2014   941   15       0   -266
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500430842    4,750   EA    2/20/2014    4,198   EA    7/31/2014   941   15    -552   -161
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500430842    4,750   EA    2/20/2014    4,198   EA    2/20/2015   941   15    -552   -365
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500430845    3,900   EA    1/24/2014      780   EA   12/28/2013   941   15   -3120     27
109049   20   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500430845    7,490   EA    1/24/2014    7,490   EA    9/12/2014   941   15       0   -231
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500430848   11,000   EA    1/10/2014   10,800   EA    3/19/2014   941   15    -200    -68
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500430848   11,388   EA    1/10/2014   11,388   EA    3/27/2014   941   15       0    -76
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500430850    5,500   EA    1/10/2014    5,688   EA    1/21/2014   941   15     188    -11
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500430850    5,500   EA    1/10/2014    5,715   EA    4/28/2014   941   15     215   -108
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500430850    5,500   EA    1/10/2014    5,715   EA    4/29/2014   941   15     215   -109
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500430850    5,500   EA    1/10/2014    5,715   EA    7/10/2014   941   15     215   -181
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500430853   10,680   EA   12/10/2013   10,680   EA    3/28/2014   941   15       0   -108
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500432368    5,700   EA    12/9/2013    5,724   EA    3/24/2014   941   15      24   -105
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500432368    5,700   EA    12/9/2013    6,084   EA    4/28/2014   941   15     384   -140
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500432369    1,380   EA    12/9/2013    1,380   EA    4/28/2014   941   15       0   -140
109049   20   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500432369    2,916   EA    12/9/2013    2,916   EA     8/5/2014   941   15       0   -239
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500432370    2,400   EA    2/10/2014    2,507   EA     4/7/2014   941   15     107    -56
109049   10   48913   CEFEPIME PINJ 2G 20ML USA                4500432371   33,250   EA    12/9/2013   29,400   EA    7/24/2014   941   15   -3850   -227
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500432372    2,519   EA    1/10/2014    2,519   EA    3/27/2014   941   15       0    -76
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500432374    1,211   EA    2/10/2014    1,211   EA     4/7/2014   941   15       0    -56
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500432376    1,200   EA    1/10/2014      879   EA    3/27/2014   941   15    -321    -76
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500432376    1,200   EA    1/10/2014      957   EA    3/27/2014   941   15    -243    -76
109049   30   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500432376      887   EA    7/25/2014      887   EA    3/27/2014   941   15       0    120
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500432378    2,818   EA    2/10/2014    2,818   EA    7/31/2014   941   15       0   -171
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109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500432378    6,137   EA   2/10/2014    6,137   EA    7/31/2014   941   15       0   -171
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500432378    2,818   EA   2/10/2014    2,818   EA   10/17/2014   941   15       0   -249
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500432378    6,137   EA   2/10/2014    6,137   EA   10/17/2014   941   15       0   -249
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500432380    5,500   EA   1/10/2014    5,052   EA    3/15/2014   941   15    -448    -64
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500432380    5,500   EA   1/10/2014    5,683   EA    3/15/2014   941   15     183    -64
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500432381    5,500   EA   2/10/2014    5,724   EA    3/13/2014   941   15     224    -31
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500432381    4,700   EA   2/10/2014    4,860   EA    3/27/2014   941   15     160    -45
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500432382    9,500   EA   2/28/2014    8,040   EA    3/27/2014   941   15   -1460    -27
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500432382   10,680   EA   2/28/2014   10,680   EA    8/13/2014   941   15       0   -166
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500432383    4,200   EA   2/10/2014    4,356   EA    1/22/2014   941   15     156     19
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500432383    4,200   EA   2/10/2014    4,356   EA    1/22/2014   941   15     156     19
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500432385    3,200   EA   2/10/2014    3,132   EA    4/15/2014   941   15     -68    -64
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500432385    3,200   EA   2/10/2014    3,228   EA    5/12/2014   941   15      28    -91
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500432387    5,700   EA   1/10/2014    5,628   EA    3/18/2014   941   15     -72    -67
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500432387    5,700   EA   1/10/2014    3,528   EA    3/18/2014   941   15   -2172    -67
109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500432387    5,700   EA   1/10/2014    5,712   EA    3/21/2014   941   15      12    -70
109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500432387    5,700   EA   1/10/2014    5,676   EA    3/25/2014   941   15     -24    -74
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500432388    2,892   EA   1/10/2014    2,892   EA    3/24/2014   941   15       0    -73
109049   20   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500432388    2,862   EA   1/10/2014    2,862   EA    3/24/2014   941   15       0    -73
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500437699    5,700   EA    2/2/2014    5,757   EA    6/30/2014   941   15      57   -148
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500437700    5,500   EA   3/14/2014    4,452   EA    3/17/2014   941   15   -1048     -3
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500437700    5,500   EA   3/14/2014    5,748   EA    3/17/2014   941   15     248     -3
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500437701    9,500   EA   4/30/2014    7,860   EA    3/28/2014   941   15   -1640     33
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500437702    4,200   EA    3/5/2014    4,356   EA    2/14/2014   941   15     156     19
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500437702    4,200   EA    3/5/2014    4,338   EA    2/14/2014   941   15     138     19
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500437702    4,200   EA    3/5/2014    4,266   EA    2/19/2014   941   15      66     14
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500437703    3,200   EA    4/4/2014    3,175   EA    4/16/2014   941   15     -25    -12
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500437703    3,200   EA    4/4/2014    3,252   EA    4/16/2014   941   15      52    -12
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500437704    1,200   EA    4/4/2014    1,222   EA     4/7/2014   941   15      22     -3
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500437705    1,200   EA    4/4/2014      959   EA    3/27/2014   941   15    -241      8
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500437705    1,200   EA    4/4/2014      851   EA    3/27/2014   941   15    -349      8
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500437708    4,200   EA   4/24/2014    4,374   EA     3/7/2014   941   15     174     48
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500437709    2,700   EA    3/5/2014    2,448   EA    2/19/2014   941   15    -252     14
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500437709    2,700   EA    3/5/2014    2,381   EA     3/6/2014   941   15    -319     -1
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500437709    2,700   EA    3/5/2014    2,424   EA     3/6/2014   941   15    -276     -1
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500437711    5,700   EA   4/15/2014    6,014   EA    3/27/2014   941   15     314     19
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500437711    5,700   EA   4/15/2014    6,014   EA    6/14/2014   941   15     314    -60
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500437711    5,700   EA   4/15/2014    6,072   EA     4/2/2014   941   15     372     13
109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500437711    5,700   EA   6/20/2014    5,676   EA    7/12/2014   941   15     -24    -22
109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500437711    5,700   EA   6/20/2014    5,676   EA    9/11/2014   941   15     -24    -83
109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500437711    5,700   EA   6/20/2014    6,132   EA    9/11/2014   941   15     432    -83
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500437712    2,874   EA   4/15/2014    2,874   EA    3/25/2014   941   15       0     21
109049   10   61870   CEFTRIAXONE PINJ 250MG 10X10ML NOV       4500437713    2,878   EA    3/5/2014    2,878   EA    6/14/2014   941   15       0   -101
109049   20   61870   CEFTRIAXONE PINJ 250MG 10X10ML NOV       4500437713    2,908   EA   7/30/2014    2,908   EA    7/10/2014   941   15       0     20
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500437714   11,167   EA    3/5/2014   11,167   EA     8/4/2014   941   15       0   -152
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500437714   11,167   EA    3/5/2014   11,167   EA     8/6/2014   941   15       0   -154
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV       4500437716   28,500   EA    3/5/2014   27,420   EA    4/29/2014   941   15   -1080    -55
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV       4500437716   28,500   EA    3/5/2014   27,420   EA    8/13/2014   941   15   -1080   -161
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV       4500437716   28,500   EA    3/5/2014   27,420   EA    8/28/2014   941   15   -1080   -176
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500438401      720   EA   2/10/2014      718   EA   10/14/2014   941   15      -2   -246
109049   10   48913   CEFEPIME PINJ 2G 20ML USA                4500444491   33,250   EA   7/10/2014   34,560   EA   10/10/2014   941   15    1310    -92
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500450197    5,700   EA    6/5/2014    5,704   EA    5/14/2014   941   15       4     22
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500450197    5,700   EA   7/30/2014    4,260   EA    5/14/2014   941   15   -1440     77
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109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500450197    5,700   EA    6/5/2014    6,096   EA     6/5/2014   941   15     396      0
109049   40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500450197    5,170   EA   1/30/2015    2,068   EA   10/22/2014   941   15   -3102    100
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500450202    1,375   EA    6/5/2014    1,353   EA    9/19/2014   941   15     -22   -106
109049   20   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500450202    1,475   EA    6/5/2014    1,475   EA   12/10/2014   941   15       0   -188
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500450203    2,400   EA    6/5/2014    2,507   EA    9/24/2014   941   15     107   -111
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500450204    6,933   EA    6/5/2014    6,933   EA    8/13/2014   941   15       0    -69
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500450204    6,960   EA    6/5/2014    6,960   EA    11/8/2014   941   15       0   -156
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500450211    6,330   EA   7/30/2014    6,330   EA   10/17/2014   941   15       0    -79
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500450212   11,000   EA   7/30/2014   11,520   EA    6/23/2014   941   15     520     37
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500450215    5,500   EA   6/30/2014    5,620   EA    6/23/2014   941   15     120      7
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500450215    5,500   EA   6/30/2014    5,833   EA     8/4/2014   941   15     333    -35
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500450219    4,200   EA   6/30/2014    4,320   EA     3/8/2014   941   15     120    114
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500450219    4,200   EA   6/30/2014    4,204   EA     3/8/2014   941   15       4    114
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500450219    4,200   EA   6/30/2014    4,366   EA    3/11/2014   941   15     166    111
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500450220    2,700   EA   6/30/2014    2,458   EA    3/11/2014   941   15    -242    111
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500450220    2,700   EA   6/30/2014    2,400   EA    5/12/2014   941   15    -300     49
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500453450   11,335   EA   6/16/2014   11,335   EA    6/30/2014   941   15       0    -14
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500453450   11,335   EA   6/16/2014   11,335   EA   10/14/2014   941   15       0   -120
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500458078    5,700   EA   8/15/2014    5,844   EA    8/19/2014   941   15     144     -4
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500458078    5,700   EA   8/15/2014    5,719   EA    8/19/2014   941   15      19     -4
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500458083    1,379   EA    9/4/2014    1,379   EA    12/3/2014   941   15       0    -90
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500458091    6,980   EA    9/4/2014    6,984   EA   11/17/2014   941   15       4    -74
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500458091    5,920   EA    9/4/2014    5,220   EA    12/3/2014   941   15    -700    -90
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500458094    3,367   EA    9/4/2014    3,540   EA    11/3/2014   941   15     173    -60
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500458094    3,325   EA    9/4/2014    3,367   EA   11/11/2014   941   15      42    -68
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500458095    2,700   EA   8/20/2014    1,975   EA    9/10/2014   941   15    -725    -21
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500458097    2,400   EA    9/4/2014    2,503   EA    9/24/2014   941   15     103    -20
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500458100    1,200   EA    9/4/2014      888   EA    11/5/2014   941   15    -312    -62
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500458103    1,200   EA   9/30/2014    1,235   EA    9/10/2014   941   15      35     20
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500458103    1,200   EA   9/30/2014    1,223   EA    9/10/2014   941   15      23     20
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500458105    5,500   EA   8/20/2014    5,880   EA    7/24/2014   941   15     380     27
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500458105    5,500   EA   8/20/2014    5,604   EA    7/30/2014   941   15     104     21
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500458106    2,700   EA   8/21/2014    2,319   EA    5/12/2014   941   15    -381    101
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500458106    2,700   EA   8/21/2014    2,122   EA    5/12/2014   941   15    -578    101
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500458106    2,700   EA   8/21/2014    2,448   EA    6/30/2014   941   15    -252     52
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500458108    2,700   EA   9/26/2014    2,458   EA    6/30/2014   941   15    -242     88
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500458108    2,700   EA   9/26/2014    2,472   EA    7/31/2014   941   15    -228     57
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500458108    2,700   EA   9/26/2014    2,472   EA    7/31/2014   941   15    -228     57
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500458109    5,700   EA   1/15/2015    3,504   EA    7/23/2014   941   15   -2196    176
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500458109    5,700   EA   1/15/2015    3,504   EA    9/10/2014   941   15   -2196    127
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500458109    5,700   EA   9/26/2014    6,020   EA    9/10/2014   941   15     320     16
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458110    4,200   EA   7/30/2014    4,284   EA    5/12/2014   941   15      84     79
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458110    4,332   EA   7/30/2014    4,332   EA    7/28/2014   941   15       0      2
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458110    4,312   EA   7/30/2014    4,312   EA    7/28/2014   941   15       0      2
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458110    4,320   EA   7/30/2014    4,320   EA    7/28/2014   941   15       0      2
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458112    4,208   EA   7/14/2014    4,208   EA    7/28/2014   941   15       0    -14
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458112    4,338   EA   7/14/2014    4,338   EA    7/28/2014   941   15       0    -14
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458112    4,235   EA   7/14/2014    4,235   EA    7/28/2014   941   15       0    -14
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458112    4,308   EA   8/14/2014    4,308   EA    9/12/2014   941   15       0    -29
109049   50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500458112    4,327   EA   8/14/2014    4,327   EA   10/17/2014   941   15       0    -64
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500458113    5,790   EA   8/30/2014    5,790   EA    3/16/2015   941   15       0   -198
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA          4500458114   26,950   EA   8/13/2014   26,950   EA    11/3/2014   941   15       0    -82
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500458116   27,950   EA   8/30/2014   27,950   EA    9/12/2014   941   15       0    -13
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109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500458117    7,725   EA    8/21/2014    7,725   EA    8/27/2014   941   15       0     -6
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500458122   11,000   EA    9/10/2014   11,289   EA    9/10/2014   941   15     289      0
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500458122   11,000   EA    9/10/2014   11,289   EA    9/11/2014   941   15     289     -1
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500458122   11,000   EA    9/10/2014   11,700   EA   10/14/2014   941   15     700    -34
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500460003    5,700   EA    8/28/2014    6,060   EA     8/5/2014   941   15     360     23
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500460003   14,220   EA    9/10/2014    5,688   EA   10/22/2014   941   15   -8532    -42
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500460004    2,934   EA   10/20/2014    2,934   EA    9/29/2014   941   15       0     21
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500460005    2,400   EA   10/30/2014    1,952   EA    9/23/2014   941   15    -448     37
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500460006   11,000   EA   11/15/2014   11,472   EA    11/5/2014   941   15     472     10
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460009    4,338   EA    9/10/2014    4,338   EA    8/12/2014   941   15       0     29
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460009    4,302   EA    9/10/2014    4,302   EA    8/12/2014   941   15       0     29
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460009    4,330   EA    9/10/2014    4,330   EA    8/12/2014   941   15       0     29
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460009    4,339   EA   10/15/2014    4,338   EA    10/1/2014   941   15      -1     14
109049   50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460009    4,320   EA   10/15/2014    4,320   EA    10/8/2014   941   15       0      7
109049   60   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460009    4,312   EA   10/20/2014    4,312   EA   10/20/2014   941   15       0      0
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460017    4,338   EA     9/1/2014    4,338   EA   10/20/2014   941   15       0    -49
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500460017    4,353   EA     9/1/2014    4,353   EA   10/20/2014   941   15       0    -49
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500460021    3,200   EA    9/30/2014    3,252   EA    10/1/2014   941   15      52     -1
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500460021    3,292   EA    9/30/2014    3,292   EA   10/17/2014   941   15       0    -17
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500460023    2,700   EA    9/26/2014    2,101   EA    7/24/2014   941   15    -599     64
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500460023    2,700   EA    9/26/2014    2,466   EA    7/31/2014   941   15    -234     57
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500460023    2,700   EA    9/26/2014    2,472   EA    7/31/2014   941   15    -228     57
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500460025    5,700   EA    9/30/2014    4,956   EA    9/11/2014   941   15    -744     19
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500460025    5,700   EA    9/30/2014    5,856   EA     2/6/2015   941   15     156   -129
109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500460025    5,700   EA    9/30/2014    5,892   EA     2/6/2015   941   15     192   -129
109049   40   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500460025    5,700   EA    9/30/2014    5,898   EA     2/6/2015   941   15     198   -129
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500463639    5,700   EA   10/15/2014    5,760   EA     8/6/2014   941   15      60     70
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500463639    5,700   EA   10/15/2014    5,676   EA     8/6/2014   941   15     -24     70
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500463639    5,700   EA   10/15/2014    6,120   EA    8/20/2014   941   15     420     56
109049   40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500463639    5,700   EA   10/15/2014    5,586   EA    8/20/2014   941   15    -114     56
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500463648    2,928   EA    10/8/2014    2,928   EA    10/1/2014   941   15       0      7
109049   30   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500463648    2,928   EA   11/15/2014    1,379   EA    10/6/2014   941   15   -1549     40
109049   30   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500463648    2,928   EA   11/15/2014    1,379   EA    12/6/2014   941   15   -1549    -21
109049   50   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500463648    2,843   EA   11/15/2014    2,843   EA   11/29/2014   941   15       0    -14
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500463650    3,618   EA   10/15/2014    3,618   EA   10/21/2014   941   15       0     -6
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500463650    3,564   EA   10/15/2014    3,564   EA   10/21/2014   941   15       0     -6
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500463650    3,420   EA   10/15/2014    3,420   EA   10/20/2014   941   15       0     -5
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500463650    3,545   EA   10/15/2014    3,545   EA   10/20/2014   941   15       0     -5
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500463652    1,200   EA   11/30/2014    1,242   EA    11/5/2014   941   15      42     25
109049   20   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500463652    1,200   EA   11/30/2014      876   EA    3/14/2015   941   15    -324   -104
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500463666    9,840   EA   10/15/2014    9,840   EA    11/6/2014   941   15       0    -22
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500463667    5,500   EA   10/30/2014    5,640   EA    7/31/2014   941   15     140     91
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500463667    5,500   EA   10/30/2014    5,892   EA    7/31/2014   941   15     392     91
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500463668    3,286   EA   10/15/2014    3,286   EA    12/3/2014   941   15       0    -49
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500463668    3,286   EA   10/15/2014    3,286   EA    12/3/2014   941   15       0    -49
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500463669   15,330   EA   11/20/2014   11,820   EA   11/11/2014   941   15   -3510      9
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500463669   15,330   EA   11/20/2014   11,820   EA   11/13/2014   941   15   -3510      7
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500463670    2,700   EA   10/30/2014    2,263   EA    1/26/2015   941   15    -437    -88
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500463670    2,700   EA   10/30/2014    2,317   EA    1/26/2015   941   15    -383    -88
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500463670    2,700   EA   10/30/2014    2,294   EA     2/3/2015   941   15    -406    -96
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500463671    4,320   EA    10/3/2014    4,320   EA   10/20/2014   941   15       0    -17
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500463671    4,317   EA    10/3/2014    4,317   EA   10/22/2014   941   15       0    -19
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500463671    4,336   EA   10/30/2014    4,336   EA    12/5/2014   941   15       0    -36
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109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500463671    4,200   EA   10/30/2014    4,235   EA     2/3/2015   941   15      35    -96
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500466877    5,700   EA    11/4/2014    5,639   EA    8/27/2014   941   15     -61     69
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500466877    5,700   EA    11/4/2014    5,664   EA    8/27/2014   941   15     -36     69
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500466877    5,700   EA    11/4/2014    5,892   EA    8/28/2014   941   15     192     68
109049   40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500466877    5,700   EA    11/4/2014    5,988   EA    8/28/2014   941   15     288     68
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500466879    3,420   EA   11/26/2014    3,420   EA   10/21/2014   941   15       0     36
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500466879    3,476   EA   11/26/2014    3,516   EA    11/5/2014   941   15      40     21
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500466879    3,438   EA   11/26/2014    3,438   EA   11/11/2014   941   15       0     15
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500466879    3,325   EA   11/26/2014    3,476   EA   11/13/2014   941   15     151     13
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500466881    4,200   EA   11/30/2014    4,257   EA    2/19/2015   941   15      57    -81
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500466881    4,200   EA    11/3/2014    4,320   EA    2/24/2015   941   15     120   -113
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500466881    4,200   EA    11/3/2014    4,315   EA    2/26/2015   941   15     115   -115
109049   50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500466881    4,266   EA    11/3/2014    4,266   EA    3/23/2015   941   15       0   -140
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466882    3,200   EA   11/25/2014    3,269   EA    3/17/2015   941   15      69   -112
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466882    3,231   EA   11/25/2014    3,231   EA    4/23/2015   941   15       0   -149
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500466884    9,931   EA   11/20/2014    9,931   EA   11/29/2014   941   15       0     -9
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500466978   11,628   EA   11/15/2014   11,628   EA   10/22/2014   941   15       0     24
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500466978    9,180   EA    11/7/2014    9,180   EA   10/15/2014   941   15       0     23
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500466978   11,568   EA    11/7/2014   11,568   EA   10/15/2014   941   15       0     23
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500466980    5,500   EA    11/7/2014    5,820   EA    7/30/2014   941   15     320    100
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500466980    5,500   EA    11/7/2014    5,292   EA    8/19/2014   941   15    -208     80
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500466980    5,807   EA    11/7/2014    5,807   EA    10/1/2014   941   15       0     37
109049   40   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500466980    5,772   EA    11/7/2014    5,772   EA    10/1/2014   941   15       0     37
109049   50   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500466980    5,500   EA    11/7/2014    5,700   EA     1/8/2015   941   15     200    -62
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500466984   10,290   EA    11/7/2014   10,290   EA   10/22/2014   941   15       0     16
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500466984    9,360   EA    11/7/2014    9,360   EA   11/17/2014   941   15       0    -10
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466985    3,298   EA    11/7/2014    3,298   EA    12/5/2014   941   15       0    -28
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466985    3,200   EA    11/7/2014    3,228   EA    1/19/2015   941   15      28    -73
109049   30   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466985    3,200   EA    11/7/2014    3,252   EA    2/19/2015   941   15      52   -104
109049   40   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466985    3,200   EA    11/7/2014    3,256   EA    1/26/2015   941   15      56    -80
109049   50   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466985    3,264   EA    11/7/2014    3,264   EA    4/22/2015   941   15       0   -166
109049   60   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500466985    3,300   EA    11/7/2014    3,300   EA    4/21/2015   941   15       0   -165
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500466988    2,040   EA   11/10/2014    2,040   EA     5/1/2015   941   15       0   -172
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500466988    2,122   EA   11/10/2014    2,122   EA     5/1/2015   941   15       0   -172
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500466988    2,448   EA   11/10/2014    2,448   EA    4/29/2015   941   15       0   -170
109049   40   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500466988    2,700   EA   11/10/2014    2,448   EA     5/1/2015   941   15    -252   -172
109049   50   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500466988    2,700   EA   11/10/2014    2,472   EA    9/29/2015   941   15    -228   -323
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500470244    4,338   EA    8/29/2014    4,338   EA    8/27/2014   941   15       0      2
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500470468    5,500   EA   12/19/2014    5,764   EA    1/21/2015   941   15     264    -33
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500470468    5,500   EA   12/19/2014    5,568   EA    2/12/2015   941   15      68    -55
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500470468    5,500   EA   12/19/2014    5,616   EA    2/12/2015   941   15     116    -55
109049   40   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500470468    5,500   EA   12/19/2014    5,544   EA     3/3/2015   941   15      44    -74
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500470469   11,090   EA   12/23/2014   11,090   EA    1/21/2015   941   15       0    -29
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500470469   11,250   EA   12/23/2014   11,250   EA    1/21/2015   941   15       0    -29
109049   30   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500470469   10,490   EA   12/23/2014   10,490   EA    1/21/2015   941   15       0    -29
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500470471    2,700   EA   12/23/2014    2,430   EA    4/29/2015   941   15    -270   -127
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500470471    2,472   EA   12/23/2014    2,472   EA    6/27/2015   941   15       0   -186
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500470471    2,436   EA   12/23/2014    2,436   EA    6/27/2015   941   15       0   -186
109049   40   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500470471    2,700   EA   12/23/2014    2,494   EA    9/29/2015   941   15    -206   -280
109049   10   48916   CEFEPIME PINJ 1G 20ML USA                4500470474   17,610   EA    1/30/2015   17,610   EA    1/21/2015   941   15       0      9
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500470475    4,224   EA   12/10/2014    4,224   EA   11/17/2014   941   15       0     23
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822    5,700   EA    1/12/2015    5,717   EA    12/2/2014   941   15      17     41
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822   15,180   EA    1/12/2015   12,060   EA   12/26/2014   941   15   -3120     17
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109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822   15,180   EA    1/12/2015   12,060   EA   12/26/2014   941   15   -3120     17
109049   40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822   14,970   EA    1/12/2015   12,092   EA   12/26/2014   941   15   -2878     17
109049   40   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822   14,970   EA    1/12/2015   12,092   EA   12/26/2014   941   15   -2878     17
109049   60   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822   12,000   EA    1/12/2015   11,623   EA   12/26/2014   941   15    -377     17
109049   60   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500473822   12,000   EA    1/12/2015   11,623   EA    2/24/2015   941   15    -377    -43
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500473824    2,886   EA    1/23/2015    2,886   EA    3/20/2015   941   15       0    -56
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    3,440   EA    1/23/2015    3,444   EA   11/11/2014   941   15       4     73
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    3,345   EA    1/23/2015    3,345   EA   12/10/2014   941   15       0     44
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    3,322   EA    1/23/2015    3,322   EA   12/16/2014   941   15       0     38
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    3,298   EA    1/23/2015    3,298   EA   12/16/2014   941   15       0     38
109049   50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    3,346   EA    1/23/2015    3,346   EA   12/16/2014   941   15       0     38
109049   60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    3,010   EA    1/23/2015    3,010   EA   12/16/2014   941   15       0     38
109049   70   48914   CEFEPIME PINJ 2G 10X20ML USA             4500473828    2,686   EA    1/23/2015    2,686   EA   12/16/2014   941   15       0     38
109049   10   48913   CEFEPIME PINJ 2G 20ML USA                4500473842   29,850   EA     2/2/2015   29,850   EA    1/27/2015   941   15       0      6
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500473843   10,632   EA    1/15/2015   10,632   EA    1/21/2015   941   15       0     -6
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500473843    8,940   EA    1/15/2015    8,964   EA    1/27/2015   941   15      24    -12
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500473843   11,460   EA    1/15/2015   11,460   EA    1/27/2015   941   15       0    -12
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500473843   11,460   EA    1/15/2015   11,460   EA    1/27/2015   941   15       0    -12
109049   40   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500473843   11,000   EA    1/15/2015    8,940   EA    1/28/2015   941   15   -2060    -13
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500473844    5,500   EA    1/30/2015    4,677   EA     1/5/2015   941   15    -823     25
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500473844    5,500   EA    1/30/2015    5,290   EA     1/8/2015   941   15    -210     22
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500473844    5,500   EA    1/30/2015    5,002   EA     1/8/2015   941   15    -498     22
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500473845    4,200   EA    1/30/2015    4,296   EA    3/20/2015   941   15      96    -49
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500473845    4,200   EA    1/30/2015    4,338   EA    3/25/2015   941   15     138    -54
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500473845    4,200   EA    1/30/2015    4,338   EA    3/26/2015   941   15     138    -55
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500473845    4,200   EA    1/30/2015    4,345   EA    4/10/2015   941   15     145    -70
109049   40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500473845    4,200   EA    1/30/2015    4,188   EA     5/5/2015   941   15     -12    -95
109049   10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500473846    3,200   EA   11/20/2014    3,309   EA     5/5/2015   941   15     109   -166
109049   20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500473846    3,200   EA   11/20/2014    3,316   EA    5/13/2015   941   15     116   -174
109049   30   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500473846    3,200   EA   11/20/2014    3,276   EA    5/14/2015   941   15      76   -175
109049   40   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500473846    3,200   EA   11/20/2014    3,303   EA     6/4/2015   941   15     103   -196
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500473847    2,457   EA   11/25/2014    2,457   EA    6/27/2015   941   15       0   -214
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500473847    2,488   EA   11/25/2014    2,488   EA    6/24/2015   941   15       0   -211
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500473847    2,484   EA    3/15/2015    2,484   EA     7/7/2015   941   15       0   -114
109049   40   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500473847    2,700   EA    3/15/2015    2,475   EA    7/13/2015   941   15    -225   -120
109049   40   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500473847    2,700   EA    3/15/2015    2,475   EA    7/13/2015   941   15    -225   -120
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500473848    2,928   EA    1/12/2015    2,928   EA   10/10/2014   941   15       0     94
109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500473848    1,375   EA    1/12/2015    1,446   EA    2/27/2015   941   15      71    -46
109049   10   61870   CEFTRIAXONE PINJ 250MG 10X10ML NOV       4500473849    4,732   EA    2/23/2015    4,732   EA    2/20/2015   941   15       0      3
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500476389    5,700   EA    2/27/2015    5,016   EA    2/12/2015   941   15    -684     15
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500476389    5,700   EA    2/27/2015    5,700   EA     3/3/2015   941   15       0     -4
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500476389    5,700   EA    2/27/2015    4,876   EA    3/14/2015   941   15    -824    -15
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500476389    5,700   EA    2/27/2015    4,876   EA    3/14/2015   941   15    -824    -15
109049   30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500476389    5,700   EA    2/27/2015    4,876   EA     4/9/2015   941   15    -824    -41
109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500476390    6,576   EA    2/27/2015    6,576   EA     7/7/2015   941   15       0   -130
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500476391    1,200   EA    2/27/2015    1,212   EA    3/14/2015   941   15      12    -15
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500476392    1,200   EA    2/27/2015    1,200   EA    2/19/2015   941   15       0      8
109049   20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500476392    1,200   EA    2/27/2015    1,212   EA    2/19/2015   941   15      12      8
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500476394    3,900   EA    2/27/2015    2,630   EA    4/16/2015   941   15   -1270    -48
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500476396    5,500   EA    2/27/2015    5,592   EA    2/27/2015   941   15      92      0
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500476396    5,500   EA    2/27/2015    5,616   EA    2/27/2015   941   15     116      0
109049   10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500476397    4,200   EA    2/27/2015    4,276   EA    2/26/2015   941   15      76      1
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500476398    2,916   EA     2/5/2015    2,916   EA     2/6/2015   941   15       0     -1
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109049    30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500476398    2,910   EA   2/27/2015    2,910   EA     2/6/2015   941   15       0     21
109049    10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500476399   11,308   EA   3/17/2015   11,308   EA    1/27/2015   941   15       0     49
109049    10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500476399   11,308   EA   3/17/2015   11,308   EA    2/12/2015   941   15       0     33
109049    10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476409    6,650   EA    2/6/2015    6,528   EA     3/9/2015   941   15    -122    -31
109049    20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476409    6,650   EA    2/6/2015    6,774   EA     3/9/2015   941   15     124    -31
109049    30   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476409    6,650   EA    2/6/2015    6,799   EA    3/27/2015   941   15     149    -49
109049    10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    6,650   EA   2/27/2015    5,700   EA     3/9/2015   941   15    -950    -10
109049    10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    6,650   EA   2/27/2015    5,700   EA     3/9/2015   941   15    -950    -10
109049    20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    6,650   EA   2/27/2015    6,936   EA    3/27/2015   941   15     286    -28
109049    30   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    6,650   EA   2/27/2015    3,456   EA     6/8/2015   941   15   -3194   -101
109049    40   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    5,320   EA   2/27/2015    2,701   EA    2/20/2015   941   15   -2619      7
109049    40   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    5,320   EA   2/27/2015    2,701   EA    2/20/2015   941   15   -2619      7
109049    40   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    5,320   EA   2/27/2015    2,701   EA    2/20/2015   941   15   -2619      7
109049    50   48912   CEFEPIME PINJ 1G 10X20ML USA             4500476410    7,164   EA   7/30/2015    7,164   EA    7/28/2015   941   15       0      2
109049    10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500476412    3,325   EA   2/27/2015    3,444   EA    3/27/2015   941   15     119    -28
109049    10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,520   EA   3/15/2015    3,520   EA   12/26/2014   941   15       0     79
109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   3/15/2015    3,321   EA     1/5/2015   941   15      -4     69
109049    30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   3/15/2015    3,324   EA    1/26/2015   941   15      -1     48
109049    40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   3/15/2015    3,502   EA    1/26/2015   941   15     177     48
109049    50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   2/13/2015    3,336   EA    1/29/2015   941   15      11     15
109049    60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   2/13/2015    3,261   EA    1/29/2015   941   15     -64     15
109049    70   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   2/13/2015    3,528   EA    1/29/2015   941   15     203     15
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   2/13/2015    3,540   EA    1/29/2015   941   15     215     15
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   2/13/2015    3,558   EA    1/29/2015   941   15     233     15
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA             4500476413    3,325   EA   2/13/2015    3,468   EA     2/3/2015   941   15     143     10
109049    10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500480945    2,874   EA   3/30/2015    2,874   EA    3/25/2015   941   15       0      5
109049    10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500480945    2,874   EA   3/30/2015    2,874   EA    3/26/2015   941   15       0      4
109049    10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500480945    2,874   EA   3/30/2015    2,874   EA    3/27/2015   941   15       0      3
109049    30   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500480945    2,916   EA   3/30/2015    2,916   EA    3/27/2015   941   15       0      3
109049    50   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500480945    1,375   EA   3/30/2015    1,374   EA     4/1/2015   941   15      -1     -2
109049    10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500480946    5,985   EA   3/30/2015    5,688   EA     8/3/2015   941   15    -297   -126
109049    20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500480946    6,650   EA   3/30/2015    7,068   EA    7/28/2015   941   15     418   -120
109049    30   48912   CEFEPIME PINJ 1G 10X20ML USA             4500480946    6,650   EA   3/30/2015    7,068   EA    7/28/2015   941   15     418   -120
109049    10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,492   EA    3/27/2015   941   15     167     -4
109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,324   EA     4/9/2015   941   15      -1    -17
109049    30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,396   EA     4/9/2015   941   15      71    -17
109049    40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,420   EA     4/9/2015   941   15      95    -17
109049    50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,360   EA     4/9/2015   941   15      35    -17
109049    60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,432   EA     4/9/2015   941   15     107    -17
109049    70   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,504   EA     4/9/2015   941   15     179    -17
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,432   EA    4/16/2015   941   15     107    -24
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,444   EA     9/2/2015   941   15     119   -163
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA             4500480948    3,325   EA   3/23/2015    3,396   EA     9/2/2015   941   15      71   -163
109049    10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500480956   11,612   EA   3/30/2015    8,082   EA    4/16/2015   941   15   -3530    -17
109049    20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500480956   11,000   EA   3/30/2015   10,644   EA    4/23/2015   941   15    -356    -24
109049    30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500480956   11,000   EA    5/1/2015   11,612   EA     5/7/2015   941   15     612     -6
109049    10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500480957    9,500   EA   3/30/2015   10,140   EA    2/19/2015   941   15     640     39
109049    20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500480957    9,500   EA   3/30/2015    9,720   EA    2/27/2015   941   15     220     31
109049    10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500480975    4,200   EA   3/23/2015    4,338   EA    5/18/2015   941   15     138    -56
109049    20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500480975    4,200   EA   3/23/2015    4,291   EA    5/19/2015   941   15      91    -57
109049    30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500480975    4,200   EA   3/23/2015    4,320   EA    5/19/2015   941   15     120    -57
109049    40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500480975    4,200   EA   3/23/2015    4,327   EA     6/8/2015   941   15     127    -77
109049    50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500480975    4,200   EA   3/23/2015    4,310   EA     6/8/2015   941   15     110    -77
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109049    10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500480976    3,200   EA   3/30/2015    3,291   EA   5/14/2015   941   15      91    -45
109049    20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500480976    3,200   EA   3/30/2015    3,317   EA   5/18/2015   941   15     117    -49
109049    20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500480976    3,200   EA   3/30/2015    3,317   EA   5/19/2015   941   15     117    -50
109049    30   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500480976    3,200   EA   3/30/2015    3,298   EA    6/4/2015   941   15      98    -66
109049    10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500480977    2,515   EA   3/20/2015    2,515   EA   7/13/2015   941   15       0   -115
109049    20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500480977    2,700   EA   3/20/2015    2,496   EA   7/16/2015   941   15    -204   -118
109049    30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500480977    2,700   EA   3/20/2015    2,461   EA   7/28/2015   941   15    -239   -130
109049    10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500480978    2,976   EA    5/1/2015    2,976   EA    5/7/2015   941   15       0     -6
109049    30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500480978    1,500   EA   5/30/2015    1,500   EA   5/13/2015   941   15       0     17
109049    10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500482911    2,904   EA    4/6/2015    2,904   EA   5/28/2015   941   15       0    -52
109049    10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500482913    2,700   EA   3/20/2015    2,508   EA   7/16/2015   941   15    -192   -118
109049    20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500482913    2,700   EA   3/20/2015    2,487   EA   7/16/2015   941   15    -213   -118
109049    30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500482913    2,700   EA   3/20/2015    2,479   EA   8/11/2015   941   15    -221   -144
109049    10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500482923    4,302   EA    4/3/2015    4,320   EA   6/15/2015   941   15      18    -73
109049    20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500482923    4,200   EA    4/3/2015    4,320   EA   6/18/2015   941   15     120    -76
109049    30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500482923    4,200   EA   7/15/2015    4,302   EA   6/24/2015   941   15     102     21
109049    40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500482923    4,200   EA    4/3/2015    4,338   EA   7/28/2015   941   15     138   -116
109049    50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500482923    4,200   EA    4/3/2015    4,333   EA   7/28/2015   941   15     133   -116
109049    10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,325   EA    5/1/2015    3,525   EA   8/12/2015   941   15     200   -103
109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,444   EA    5/1/2015    3,444   EA   8/12/2015   941   15       0   -103
109049    30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,444   EA    5/1/2015    3,444   EA   8/12/2015   941   15       0   -103
109049    40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,564   EA    5/1/2015    3,564   EA   8/12/2015   941   15       0   -103
109049    50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,504   EA    5/1/2015    3,504   EA   8/24/2015   941   15       0   -115
109049    60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,468   EA    5/1/2015    3,468   EA   8/24/2015   941   15       0   -115
109049    70   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,504   EA    5/1/2015    3,504   EA   8/26/2015   941   15       0   -117
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,325   EA    5/1/2015    3,480   EA   8/31/2015   941   15     155   -122
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,325   EA    5/1/2015    3,537   EA   8/31/2015   941   15     212   -122
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA             4500482966    3,325   EA    5/1/2015    3,288   EA    9/2/2015   941   15     -37   -124
109049    10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500486290    5,760   EA   5/29/2015    5,760   EA   9/17/2015   941   15       0   -111
109049    20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500486290    6,650   EA   5/29/2015    6,948   EA   9/15/2015   941   15     298   -109
109049    30   48912   CEFEPIME PINJ 1G 10X20ML USA             4500486290    6,960   EA   5/29/2015    6,960   EA   9/29/2015   941   15       0   -123
109049    10   48916   CEFEPIME PINJ 1G 20ML USA                4500486291   39,900   EA   5/29/2015   32,730   EA    6/8/2015   941   15   -7170    -10
109049    10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500486293    3,325   EA   5/29/2015    3,276   EA    8/4/2015   941   15     -49    -67
109049    20   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500486293    3,325   EA   5/29/2015    3,600   EA    8/4/2015   941   15     275    -67
109049    30   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500486293    3,325   EA   5/29/2015    3,535   EA    8/4/2015   941   15     210    -67
109049    40   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500486293    3,325   EA   5/29/2015    3,460   EA    8/4/2015   941   15     135    -67
109049    10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500486294    2,800   EA   5/29/2015    1,956   EA    6/9/2015   941   15    -844    -11
109049    10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500486296    1,200   EA   5/29/2015    1,260   EA    6/3/2015   941   15      60     -5
109049    20   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500486296    1,200   EA   5/29/2015    1,244   EA    6/3/2015   941   15      44     -5
109049    30   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500486296    1,200   EA   5/29/2015    1,260   EA    6/3/2015   941   15      60     -5
109049    10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500486299   19,000   EA   5/29/2015   19,700   EA   7/21/2015   941   15     700    -53
109049    10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500486301    9,270   EA   5/15/2015    9,270   EA    5/7/2015   941   15       0      8
109049    30   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500486301    2,850   EA   4/30/2015    2,957   EA   4/16/2015   941   15     107     14
109049    10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500486302    5,500   EA   5/29/2015    4,560   EA    4/9/2015   941   15    -940     50
109049    20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500486302    5,500   EA   5/29/2015    5,664   EA   4/13/2015   941   15     164     46
109049    30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500486302    5,500   EA   5/29/2015    5,561   EA   4/13/2015   941   15      61     46
109049    40   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500486302    5,500   EA   5/29/2015    5,154   EA   4/13/2015   941   15    -346     46
109049    10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500486305    4,318   EA   5/12/2015    4,318   EA   8/25/2015   941   15       0   -105
109049    10   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500486305    4,318   EA   5/12/2015    4,318   EA   8/25/2015   941   15       0   -105
109049    20   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500486305    4,351   EA   5/12/2015    4,351   EA   8/25/2015   941   15       0   -105
109049    30   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500486305    4,356   EA   5/12/2015    4,356   EA   8/24/2015   941   15       0   -104
109049    40   48695   PIPERACIL/TAZO PINJ 2.25G 10X30ML USA    4500486305    4,374   EA   5/12/2015    4,374   EA   8/24/2015   941   15       0   -104
109049    10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500486307    4,200   EA   5/12/2015    4,320   EA   8/13/2015   941   15     120    -93
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109049    20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500486307    4,284   EA   5/12/2015    4,284   EA    9/22/2015   941   15       0   -133
109049    30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500486307    4,258   EA   5/12/2015    4,258   EA    9/17/2015   941   15       0   -128
109049    40   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500486307    4,200   EA   5/12/2015    4,166   EA   10/26/2015   941   15     -34   -167
109049    50   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500486307    4,166   EA   5/12/2015    4,122   EA   11/19/2015   941   15     -44   -191
109049    10   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500486342    3,296   EA   5/12/2015    3,296   EA    6/24/2015   941   15       0    -43
109049    20   48696   PIPERACIL/TAZO PINJ 4.5G 10X48ML USA     4500486342    3,200   EA   5/12/2015    3,276   EA    8/18/2015   941   15      76    -98
109049    10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500486343    2,700   EA   5/29/2015    2,400   EA    8/11/2015   941   15    -300    -74
109049    20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500486343    2,508   EA   5/29/2015    2,508   EA    9/29/2015   941   15       0   -123
109049    30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500486343    2,700   EA   5/29/2015    2,448   EA   10/23/2015   941   15    -252   -147
109049    10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500486344    5,700   EA   5/15/2015    5,316   EA    5/19/2015   941   15    -384     -4
109049    20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500486344    5,700   EA   5/15/2015    5,568   EA    5/19/2015   941   15    -132     -4
109049    10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500486345    2,532   EA    6/2/2015    2,532   EA    5/28/2015   941   15       0      5
109049    30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500486345    2,908   EA    6/2/2015    2,908   EA    5/28/2015   941   15       0      5
109049    10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500488150   10,800   EA   6/25/2015   11,100   EA     5/7/2015   941   15     300     49
109049    20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500488150   10,800   EA   6/25/2015   10,800   EA    5/19/2015   941   15       0     37
109049    30   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500488150    9,500   EA   6/25/2015    9,110   EA     6/3/2015   941   15    -390     22
109049    10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500488153    5,772   EA   5/30/2015    5,772   EA     5/7/2015   941   15       0     23
109049    20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500488153    4,320   EA   6/15/2015    4,320   EA     6/9/2015   941   15       0      6
109049    30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500488153    5,500   EA   6/15/2015    5,736   EA     6/3/2015   941   15     236     12
109049    40   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500488153    5,500   EA   5/30/2015    5,628   EA     5/7/2015   941   15     128     23
109049    10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500489218    5,700   EA    6/1/2015    5,928   EA    5/13/2015   941   15     228     19
109049    20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500489218    5,700   EA    6/1/2015    6,084   EA     8/6/2015   941   15     384    -66
109049    30   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500489218    5,700   EA    6/1/2015    6,018   EA     8/6/2015   941   15     318    -66
109049    10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500489219    2,892   EA   4/30/2015    2,892   EA    5/20/2015   941   15       0    -20
109049    20   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500489219    2,820   EA   4/30/2015    2,820   EA    5/20/2015   941   15       0    -20
109049    50   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500489219    2,874   EA   6/30/2015    2,874   EA    5/22/2015   941   15       0     39
109049    70   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500489219    2,910   EA   8/15/2015    2,910   EA    6/24/2015   941   15       0     52
109049    10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500489220    7,174   EA   6/26/2015    7,174   EA    7/11/2015   941   15       0    -15
109049    10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500489220    7,174   EA   6/26/2015    7,174   EA    7/13/2015   941   15       0    -17
109049    10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,325   EA   6/24/2015    3,372   EA     9/2/2015   941   15      47    -70
109049    20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,325   EA   6/24/2015    3,492   EA     9/5/2015   941   15     167    -73
109049    30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,325   EA   6/24/2015    3,562   EA     9/5/2015   941   15     237    -73
109049    40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,325   EA   6/24/2015    2,952   EA     9/8/2015   941   15    -373    -76
109049    50   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,420   EA   6/24/2015    3,420   EA    9/10/2015   941   15       0    -78
109049    60   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,325   EA   6/24/2015    3,477   EA    9/10/2015   941   15     152    -78
109049    70   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,325   EA   6/24/2015    3,444   EA    9/10/2015   941   15     119    -78
109049    80   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,432   EA   6/24/2015    3,432   EA    9/22/2015   941   15       0    -90
109049    90   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,465   EA   6/24/2015    3,465   EA    9/30/2015   941   15       0    -98
109049   100   48914   CEFEPIME PINJ 2G 10X20ML USA             4500489222    3,252   EA   6/24/2015    3,252   EA    1/13/2016   941   15       0   -203
109049    10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500489240    7,605   EA    6/9/2015    7,605   EA    7/21/2015   941   15       0    -42
109049    10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500489259    1,548   EA   5/30/2015    1,548   EA    6/18/2015   941   15       0    -19
109049    20   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500489259    1,375   EA   5/30/2015    1,236   EA    7/27/2015   941   15    -139    -58
109049    30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500489259    1,375   EA   5/30/2015    1,314   EA    7/27/2015   941   15     -61    -58
109049    10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500492156    5,700   EA   7/21/2015    3,888   EA    9/18/2015   941   15   -1812    -59
109049    10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500492161    2,940   EA   7/20/2015    2,940   EA    7/31/2015   941   15       0    -11
109049    20   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500492161    1,380   EA   7/20/2015    1,380   EA     8/5/2015   941   15       0    -16
109049    10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500492164    6,840   EA   8/30/2015    6,840   EA    9/15/2015   941   15       0    -16
109049    20   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500492164    6,880   EA   8/30/2015    6,888   EA    9/22/2015   941   15       8    -23
109049    10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500492167    3,325   EA   7/10/2015    3,600   EA    9/10/2015   941   15     275    -62
109049    20   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500492167    3,564   EA   7/10/2015    3,564   EA    9/17/2015   941   15       0    -69
109049    30   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500492167    3,564   EA   7/10/2015    3,564   EA   10/28/2015   941   15       0   -110
109049    40   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500492167    3,020   EA   7/10/2015    3,020   EA   10/28/2015   941   15       0   -110
109049    50   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500492167    3,588   EA   7/10/2015    3,588   EA    9/29/2015   941   15       0    -81
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109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500492175    3,587   EA   7/30/2015    3,587   EA    1/15/2016   941   15        0   -169
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500492175    3,004   EA   7/30/2015    3,004   EA    1/15/2016   941   15        0   -169
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500492175    3,456   EA   7/30/2015    3,456   EA     2/4/2016   941   15        0   -189
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500492177    4,200   EA    7/8/2015    4,181   EA   10/23/2015   941   15      -19   -107
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500492177    4,276   EA    7/8/2015    4,276   EA    11/5/2015   941   15        0   -120
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500492177    4,163   EA    7/8/2015    4,163   EA    1/22/2016   941   15        0   -198
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500492184    2,940   EA   8/30/2015    2,940   EA    9/12/2015   941   15        0    -13
109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500492184    1,791   EA   9/30/2015    1,791   EA    9/12/2015   941   15        0     18
109049   40   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500492184    2,886   EA   9/30/2015    2,886   EA    9/12/2015   941   15        0     18
109049   10   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500492517    6,750   EA   6/30/2015    5,628   EA     9/2/2015   941   15    -1122    -64
109049   20   51025   CEFEPIME PINJ 1G 10X20ML NOV             4500492517    6,750   EA   6/30/2015    7,206   EA    9/14/2015   941   15      456    -76
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500492518    2,400   EA   7/10/2015    2,532   EA     8/5/2015   941   15      132    -26
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500492519    1,600   EA   7/10/2015    1,234   EA    8/20/2015   941   15     -366    -41
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500492520   11,000   EA   7/13/2015   10,920   EA    7/21/2015   941   15      -80     -8
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500492520   11,000   EA   7/13/2015   10,920   EA    7/21/2015   941   15      -80     -8
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA             4500495520    6,996   EA   8/30/2015    6,996   EA    9/16/2015   941   15        0    -17
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA             4500495520    5,080   EA   8/30/2015    5,080   EA     2/5/2016   941   15        0   -159
109049   10   48916   CEFEPIME PINJ 1G 20ML USA                4500495521   33,250   EA   8/30/2015   13,800   EA    9/16/2015   941   15   -19450    -17
109049   10   51024   CEFEPIME PINJ 2G 10X20ML NOV             4500495523    3,594   EA   8/14/2015    3,594   EA    2/16/2016   941   15        0   -186
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500495524    3,429   EA   8/17/2015    3,429   EA    1/15/2016   941   15        0   -151
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500495524    3,480   EA   8/17/2015    3,480   EA    1/15/2016   941   15        0   -151
109049   30   48914   CEFEPIME PINJ 2G 10X20ML USA             4500495524    3,525   EA   8/17/2015    3,525   EA    1/15/2016   941   15        0   -151
109049   40   48914   CEFEPIME PINJ 2G 10X20ML USA             4500495524    3,488   EA   8/17/2015    3,488   EA    1/15/2016   941   15        0   -151
109049   10   48913   CEFEPIME PINJ 2G 20ML USA                4500495525   34,740   EA   8/25/2015   34,740   EA    9/17/2015   941   15        0    -23
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500495530    9,599   EA   7/31/2015    9,599   EA    7/20/2015   941   15        0     11
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500495530   11,352   EA   7/31/2015   11,352   EA    7/20/2015   941   15        0     11
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500495530   10,452   EA   7/31/2015   10,452   EA    7/16/2015   941   15        0     15
109049   40   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500495530   11,000   EA   8/15/2015   10,044   EA    7/21/2015   941   15     -956     25
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500496240    4,050   EA   8/14/2015    4,050   EA    6/24/2015   941   15        0     51
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500496268   11,000   EA   7/31/2015   10,704   EA    7/23/2015   941   15     -296      8
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500496268   11,000   EA   7/31/2015    8,196   EA    7/23/2015   941   15    -2804      8
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500496288    2,082   EA   8/14/2015    2,082   EA    9/28/2015   941   15        0    -45
109049   20   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500496288    3,032   EA   8/14/2015    3,032   EA    9/30/2015   941   15        0    -47
109049   40   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500496288    1,375   EA   8/14/2015      858   EA   10/14/2015   941   15     -517    -61
109049   10   47852   CEFOXITIN PINJ 10G 10X100ML USA          4500499639      578   EA   9/15/2015      578   EA   12/30/2015   941   15        0   -106
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500499640    9,900   EA   10/4/2015    9,900   EA    8/26/2015   941   15        0     39
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500499640    9,900   EA   10/4/2015    9,900   EA    9/11/2015   941   15        0     23
109049   20   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500499640    1,877   EA   2/28/2016    1,877   EA     2/3/2016   941   15        0     25
109049   30   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500499640    4,750   EA   10/4/2015    5,202   EA    9/11/2015   941   15      452     23
109049   40   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500499640    6,192   EA   10/4/2015    6,192   EA    9/29/2015   941   15        0      5
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA          4500499641   11,790   EA   10/4/2015   11,790   EA    9/21/2015   941   15        0     13
109049   20   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500499641    9,685   EA   10/4/2015    9,685   EA    9/21/2015   941   15        0     13
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500499642   10,656   EA   8/30/2015    7,256   EA    8/10/2015   941   15    -3400     20
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500499642   11,000   EA   10/4/2015   10,656   EA    8/13/2015   941   15     -344     52
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500499642   11,000   EA   10/4/2015   11,073   EA    8/26/2015   941   15       73     39
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500499644    4,872   EA   9/14/2015    4,056   EA    9/15/2015   941   15     -816     -1
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500499644    5,500   EA   9/14/2015    4,872   EA    9/17/2015   941   15     -628     -3
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500499644    5,500   EA   9/14/2015    5,640   EA    9/18/2015   941   15      140     -4
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500499645   10,860   EA   10/4/2015   10,860   EA    8/20/2015   941   15        0     45
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA       4500499645   11,310   EA   10/4/2015   11,310   EA    8/27/2015   941   15        0     38
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500499647   15,500   EA   9/14/2015   10,880   EA   10/13/2015   941   15    -4620    -29
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500499647   15,500   EA   9/14/2015   10,880   EA   10/28/2015   941   15    -4620    -44
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500499647   15,500   EA   9/14/2015   10,880   EA   11/12/2015   941   15    -4620    -59
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109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500499647    5,700   EA    9/14/2015    5,652   EA    10/6/2015   941   15     -48    -22
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500499647    5,700   EA    9/14/2015    5,652   EA    10/7/2015   941   15     -48    -23
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA          4500499649    3,078   EA    10/4/2015    3,078   EA    9/17/2015   941   15       0     17
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500499653    4,291   EA    10/1/2015    4,291   EA   12/15/2015   941   15       0    -75
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500499653    4,248   EA    10/1/2015    4,248   EA    1/13/2016   941   15       0   -104
109049   10   48914   CEFEPIME PINJ 2G 10X20ML USA             4500499654    3,462   EA   10/15/2015    3,462   EA     2/5/2016   941   15       0   -113
109049   20   48914   CEFEPIME PINJ 2G 10X20ML USA             4500499654    3,540   EA   10/15/2015    3,540   EA     2/5/2016   941   15       0   -113
109049   10   51027   CEFOXITIN PINJ 1G 25x20ML NOV            4500499656    2,400   EA    10/4/2015    2,520   EA    12/4/2015   941   15     120    -61
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500499658    3,540   EA   10/14/2015    1,416   EA    9/21/2015   941   15   -2124     23
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500499662    1,396   EA    9/30/2015    1,396   EA    9/14/2015   941   15       0     16
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500499662    1,396   EA    9/30/2015    1,396   EA    9/15/2015   941   15       0     15
109049   20   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500499662    1,200   EA    9/30/2015    1,236   EA    9/15/2015   941   15      36     15
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA         4500499664    1,200   EA    10/4/2015    1,255   EA    9/12/2015   941   15      55     22
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500499666    2,700   EA    10/5/2015    2,503   EA   11/30/2015   941   15    -197    -56
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500499666    2,700   EA    10/5/2015    2,496   EA   11/30/2015   941   15    -204    -56
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500499666    2,700   EA    10/5/2015    2,256   EA     3/3/2016   941   15    -444   -150
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500501636    1,413   EA    10/1/2015    1,413   EA   10/13/2015   941   15       0    -12
109049   20   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500501636    1,500   EA    10/1/2015    1,500   EA   10/14/2015   941   15       0    -13
109049   30   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500501636    2,940   EA   11/30/2015    2,940   EA   10/29/2015   941   15       0     32
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500502765    5,700   EA    11/9/2015    5,766   EA   11/10/2015   941   15      66     -1
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA            4500502765    5,700   EA   11/25/2015    4,976   EA   11/17/2015   941   15    -724      8
109049   10   47805   CEFOXITIN PINJ 1G 25x20ML USA            4500502800    2,496   EA   10/15/2015    2,496   EA   11/30/2015   941   15       0    -46
109049   10   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500502802    1,870   EA   11/30/2015    1,874   EA   10/29/2015   941   15       4     32
109049   20   61130   CEFAZOLIN PINJ 10G 10X100ML NOV          4500502802    2,940   EA   11/30/2015    2,940   EA   11/10/2015   941   15       0     20
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500502803   14,395   EA   10/16/2015   12,089   EA    9/25/2015   941   15   -2306     21
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500502803   14,395   EA   10/16/2015   12,089   EA    9/25/2015   941   15   -2306     21
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500502803   15,013   EA   10/16/2015   11,477   EA    9/28/2015   941   15   -3536     18
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500502803   15,013   EA   10/16/2015   11,477   EA    9/28/2015   941   15   -3536     18
109049   30   61113   CEFAZOLIN PINJ 1G 25X10ML NOV            4500502803    5,700   EA   10/16/2015    5,758   EA    9/25/2015   941   15      58     21
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV         4500502804    3,000   EA   10/19/2015    1,200   EA   11/30/2015   941   15   -1800    -42
109049   10   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV       4500502806   11,280   EA   10/15/2015   11,280   EA    10/6/2015   941   15       0      9
109049   20   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV       4500502806   10,440   EA   10/15/2015   10,440   EA   10/14/2015   941   15       0      1
109049   30   61868   CEFTRIAXONE PINJ 10G 100ML BLK NOV       4500502806   10,920   EA   10/15/2015   10,920   EA   11/18/2015   941   15       0    -34
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500502807   11,000   EA   11/15/2015    9,624   EA   11/19/2015   941   15   -1376     -4
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV          4500502807   11,000   EA   11/15/2015    9,624   EA   11/19/2015   941   15   -1376     -4
109049   10   61870   CEFTRIAXONE PINJ 250MG 10X10ML NOV       4500502808    5,978   EA   10/15/2015    5,978   EA     2/2/2016   941   15       0   -110
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500502809    5,500   EA   11/15/2015    5,388   EA   11/10/2015   941   15    -112      5
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500502809    5,500   EA   11/15/2015    5,652   EA   11/12/2015   941   15     152      3
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500502809    5,500   EA   11/15/2015    5,600   EA   11/17/2015   941   15     100     -2
109049   40   47157   CEFTRIAXONE PINJ 2G 10X20ML USA          4500502809    5,500   EA   11/15/2015    5,520   EA    12/4/2015   941   15      20    -19
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500502810   11,000   EA   10/14/2015   10,704   EA    9/25/2015   941   15    -296     19
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500502810   11,000   EA   10/14/2015   11,496   EA   11/11/2015   941   15     496    -28
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA          4500502810   11,000   EA   10/14/2015   11,456   EA   11/19/2015   941   15     456    -36
109049   10   47154   CEFTRIAXONE PINJ 250MG 10ML USA          4500502811    9,500   EA   11/13/2015    9,500   EA     2/3/2016   941   15       0    -82
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA       4500502812    7,680   EA   11/13/2015    7,680   EA    1/13/2016   941   15       0    -61
109049   10   47161   CEFTRIAXONE PINJ 500MG 10ML USA          4500502813   13,480   EA   11/30/2015   13,480   EA    1/13/2016   941   15       0    -44
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA       4500502814    3,020   EA   10/15/2015    3,020   EA   12/23/2015   941   15       0    -69
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500502817    2,700   EA   11/19/2015    2,507   EA     3/3/2016   941   15    -193   -105
109049   20   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500502817    2,700   EA   11/19/2015    2,469   EA    3/29/2016   941   15    -231   -131
109049   30   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA      4500502817    2,700   EA   11/19/2015    2,482   EA    3/29/2016   941   15    -218   -131
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500502822    4,302   EA   10/15/2015    4,302   EA   12/23/2015   941   15       0    -69
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500502822    4,248   EA   10/15/2015    4,248   EA   12/30/2015   941   15       0    -76
109049   30   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA   4500502822    4,194   EA   10/15/2015    4,194   EA   12/30/2015   941   15       0    -76
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109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500505540          5,700   EA   12/14/2015      6,040   EA    12/4/2015   941   15      340     10
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500505540          5,886   EA    1/30/2016      5,722   EA    1/11/2016   941   15     -164     19
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500505566          2,850   EA   12/18/2015      2,850   EA   10/29/2015   941   15        0     50
109049   10   48912   CEFEPIME PINJ 1G 10X20ML USA               4500505567          6,972   EA   12/15/2015      6,972   EA    2/16/2016   941   15        0    -63
109049   20   48912   CEFEPIME PINJ 1G 10X20ML USA               4500505567          6,650   EA   12/15/2015      6,975   EA    2/20/2016   941   15      325    -67
109049   30   48912   CEFEPIME PINJ 1G 10X20ML USA               4500505567          6,975   EA   12/15/2015      6,924   EA    2/25/2016   941   15      -51    -72
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA           4500505575          3,040   EA    1/16/2016      2,471   EA   11/30/2015   941   15     -569     47
109049   10   47854   CEFOXITIN PINJ 2G 25 X 20 ML USA           4500505575          3,040   EA    1/16/2016      2,471   EA   12/18/2015   941   15     -569     29
109049   10   47155   CEFTRIAXONE PINJ 250MG 10X10ML USA         4500505582          9,144   EA   12/14/2015      9,144   EA     2/3/2016   941   15        0    -51
109049   10   47166   CEFTRIAXONE PINJ 500MG 10X10ML USA         4500505583         10,433   EA   11/10/2015     10,433   EA     2/5/2016   941   15        0    -87
109049   10   47151   CEFTRIAXONE PINJ 1G 10X20ML USA            4500505587         11,208   EA   11/15/2015     11,532   EA   11/11/2015   941   15      324      4
109049   20   47151   CEFTRIAXONE PINJ 1G 10X20ML USA            4500505587         11,000   EA   12/18/2015      8,597   EA    12/2/2015   941   15    -2403     16
109049   30   47151   CEFTRIAXONE PINJ 1G 10X20ML USA            4500505587         11,000   EA   12/18/2015     11,315   EA    12/2/2015   941   15      315     16
109049   40   47151   CEFTRIAXONE PINJ 1G 10X20ML USA            4500505587         11,000   EA   12/18/2015     11,208   EA    12/7/2015   941   15      208     11
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500505588          5,700   EA   12/14/2015      5,184   EA   11/17/2015   941   15     -516     27
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500505588          5,700   EA   12/14/2015      5,700   EA    12/3/2015   941   15        0     11
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500505588          5,500   EA   12/14/2015      5,700   EA    12/3/2015   941   15      200     11
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500505590         10,960   EA   11/15/2015     10,960   EA   11/11/2015   941   15        0      4
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500505590          9,500   EA   11/15/2015     10,080   EA   11/12/2015   941   15      580      3
109049   30   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500505590         11,140   EA   11/15/2015     11,140   EA   11/12/2015   941   15        0      3
109049   10   48698   PIPERACIL/TAZO PINJ 40.5G 300ML USA        4500505593          2,700   EA   12/18/2015      2,463   EA    3/29/2016   941   15     -237   -102
109049   10   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA     4500505594          4,200   EA    12/1/2015      4,276   EA    2/25/2016   941   15       76    -86
109049   20   48697   PIPERACIL/TAZO PINJ 3.375G 10X30ML USA     4500505594          4,200   EA    12/1/2015      4,256   EA    3/18/2016   941   15       56   -108
109049   10   51026   CEFOXITIN PINJ 2G 25 X 20 ML NOV           4500508584          3,078   EA   12/18/2015      1,231   EA   12/18/2015   941   15    -1847      0
109049   10   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500508585         10,220   EA   12/18/2015     10,220   EA    12/3/2015   941   15        0     15
109049   20   47149   CEFTRIAXONE PINJ 10G 100ML BLK USA         4500508585         10,420   EA   12/18/2015     10,420   EA   12/19/2015   941   15        0     -1
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500511064          5,700   EA    1/11/2016      5,652   EA   12/30/2015   941   15      -48     12
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500511064          5,700   EA    1/11/2016      5,724   EA   12/30/2015   941   15       24     12
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500511065          1,375   EA    1/11/2016      1,471   EA    12/4/2015   941   15       96     38
109049   20   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500511065          3,016   EA    1/11/2016      3,016   EA    12/4/2015   941   15        0     38
109049   20   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500511065          3,016   EA    1/11/2016      3,016   EA    12/4/2015   941   15        0     38
109049   10   47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500513972          5,700   EA     2/2/2016      5,994   EA    1/27/2016   941   15      294      6
109049   20   47138   CEFAZOLIN PINJ 1G 25x10ML USA              4500513972          5,700   EA     2/2/2016      5,886   EA    1/27/2016   941   15      186      6
109049   10   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500513976          3,460   EA    4/15/2016        346   EA    2/23/2016   941   15    -3114     52
109049   30   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500513976          1,485   EA    2/26/2016      1,485   EA    3/16/2016   941   15        0    -19
109049   40   47135   CEFAZOLIN PINJ 10G 10X100ML USA            4500513976          1,490   EA    2/26/2016      1,490   EA    3/16/2016   941   15        0    -19
109049   10   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500514860          5,760   EA    2/19/2016      5,760   EA     2/3/2016   941   15        0     16
109049   20   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500514860          5,649   EA    2/19/2016      5,649   EA     2/2/2016   941   15        0     17
109049   30   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500514860          5,707   EA    2/19/2016      5,707   EA    2/23/2016   941   15        0     -4
109049   40   47157   CEFTRIAXONE PINJ 2G 10X20ML USA            4500514860          5,592   EA    2/19/2016      5,592   EA    3/16/2016   941   15        0    -26
109049   10   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV            4500514863          5,561   EA    3/15/2016      5,561   EA    2/24/2016   941   15        0     20
109049   20   61869   CEFTRIAXONE PINJ 2G 10X20ML NOV            4500514863          5,664   EA    3/15/2016      5,664   EA    2/24/2016   941   15        0     20
109049   10   61113   CEFAZOLIN PINJ 1G 25X10ML NOV              4500515191          5,396   EA    2/26/2016      5,396   EA     2/3/2016   941   15        0     23
109049   20   61113   CEFAZOLIN PINJ 1G 25X10ML NOV              4500515191          6,012   EA     3/1/2016      6,012   EA    3/16/2016   941   15        0    -15
109049   10   48916   CEFEPIME PINJ 1G 20ML USA                  4500517145         39,900   EA    3/30/2016     19,980   EA    2/16/2016   941   15   -19920     43

109049                                                         HOSPIRA HEALTHCARE6,123,445
                                                                                  INDIA PV EA                  5,900,960 EA
